         Case 24-42003-mxm7                           Doc 10       Filed 06/20/24 Entered 06/20/24 12:37:24                           Desc Main
                                                                 Document      Page 1 of 87




Fill in this information to identify the case:

Debtor name                Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

Case number (if known)             24-42003-7
                                                                                                                                O Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                        Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:
     '="::"R NY kiRik




                         Schedule A/B: Assets—Real and Personal Property (Official Form 206A1B)
                         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E1F)
                         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                         Schedule H: Codebtors (Official Form 206H)
                         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                         Amended Schedule
                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                         Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true a

        Executed on              June 20, 2024                  X
                                                                          -   ture of in. iv .17.11m?Ming on behalf of debtor

                                                                      Cord H. Jo son
                                                                      Printed name

                                                                      Authorized Representative
                                                                      Position or relationship to debtor




Official Form 202                                           Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 24-42003-mxm7                 Doc 10      Filed 06/20/24 Entered 06/20/24 12:37:24          Desc Main
                                                       Document      Page 2 of 87
Fill in this information to identify the case:

Debtor name     Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)   24-42003-7
                                                                                                     1:1 Check if this is an
                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                    12/15

Part 1:    Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A1B)

     la. Real property:
         Copy line 88 from Schedule A/B                                                                                        0.00

     1 b. Total personal property:
         Copy line 91A from Schedule NB                                                                                        0.00

     lc. Total of all property:
         Copy line 92 from Schedule NB
                                                                                                                               0.00


Part 2.    Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D                               0.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F
                                                                                                                               0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F
                                                                                                                 118,991,492.29


4.   Total liabilities
                                                                                                       $      118,991,492.29
     Lines 2 + 3a + 3b




                                             Summary of Assets and Liabilities for Non-Individuals                         page 1
Official Form 206Sum
          Case 24-42003-mxm7                  Doc 10       Filed 06/20/24 Entered 06/20/24 12:37:24                       Desc Main
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Fill in this information to identify the case:

Debtor name      Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)       24-42003-7
                                                                                                                    El Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1.     Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

   • No. Go to Part 2.
   0 Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

   • No. Go to Part 3.
   0 Yes Fill in the information below.


Part 3.      Accounts receivable
10. Does the debtor have any accounts receivable?

   • No. Go to Part 4.
   • Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                  16,251,730.18        -                    16,251,730.18                            Unknown
                                      face amount                           doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                             $0.00
          Current value on lines lla + llb = line 12. Copy the total to line 82.

Part 4:       Investments
13. Does the debtor own any investments?

   • No. Go to Part 5.
   0 Yes Fill in the information below.


Part 5.       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 1
          Case 24-42003-mxm7                    Doc 10       Filed 06/20/24 Entered 06/20/24 12:37:24                        Desc Main
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Debtor          Big Horn Construction & Reclamation LLC                                Case number (If known) 24 42003 7
                                                                                                                  -      -

                Name


   •     No. Go to Part 6.
      El Yes Fill in the information below.


Part 6.         Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

   • No. Go to Part 7.
   o Yes Fill in the information below.


Part 7:         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

   • No. Go to Part 8.
   o Yes Fill in the information below.


Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

   • No. Go to Part 9.
   o Yes Fill in the information below.


Part 9          Real property
54. Does the debtor own or lease any real property?

   • No. Go to Part 10.
   o Yes Fill in the information below.


Part 10.        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   ▪ No. Go to Part 11.
   • Yes Fill in the information below.

                                                                       Net book value of         Valuation method used       Current value of
                                                                       debtor's interest         for current value           debtor's interest
                                                                       (Where available)

60.         Patents, copyrights, trademarks, and trade secrets

61.         Internet domain names and websites

62.         Licenses, franchises, and royalties

63.         Customer lists, mailing lists, or other compilations

64.         Other intangibles, or intellectual property
            Own company name - Bighorn Construction
            and Reclamation LLC                                                      $0.00                                                   $0.00




65.         Goodwill


66.         Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

67.         Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?

Official Form 206A/B                                  Schedule NB Assets - Real and Personal Property                                        page 2
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Debtor        Big Horn Construction & Reclamation LLC                                     Case number (If known) 24-42003-7
              Name


           • No
           0 Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
           • No
           O Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
           • No
           O Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

   • No. Go to Part 12.
   0 Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 3
       Case 24-42003-mxm7                    Doc 10       Filed 06/20/24 Entered 06/20/24 12:37:24                           Desc Main
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Debtor       Big Horn Construction & Reclamation LLC                              Case number (If known) 24-42003-7
             Name


Part 12.     Summary

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                  Current value of              ,i..1 iiey
                                                                                                    pi0;    renl value of real
                                                                       personal property.

80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                      $0.00

82. Accounts receivable. Copy line 12, Part 3.                                          $0.00

83. Investments. Copy line 17, Part 4.                                                  $0.00

84. Inventory. Copy line 23, Part 5.                                                    $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                           $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                               $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                           $0.00


88. Real property. Copy line 56, Part 9                                                                                          $0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                       $0.00

90. All other assets. Copy line 78, Part 11.                                            $0.00


91. Total. Add lines 80 through 90 for each column                                   $0.00      + 91b.                           $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                          $0.00




Official Form 206A/B                              Schedule NB Assets - Real and Personal Property                                          page 4
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                                        Bighorn Construction & Reclamation, LLC
                                                  A/R Aging Summary
                                                   As of June 3, 2024

                                        Current     1 -30          31 -60      61 -90            >90                Total

AISG                                         0.00       0.00            0.00        0.00         (11,900.00)         (11,900.00)

Depcom Power

  Depcom - Richfield - 1147                  0.00       0.00            0.00        0.00       1,107,322.00        1,107,322.00

Total Depcom Power                           ono        0.00            0.00        0.00       1,107,32200         1.107,322.00



Devon Energy

  Devon - Maintenance TOM                    ono        0.00            0.00        0.00         115,472.00          115,47200

  Devon - Pumping                            0.00       0.00            ono         0.00          15,37200            15,372.00

Total Devon Energy                           0.00       0.00            0.00        0.00         130,844.00          130,844.00



Enhanced Midstream

  10 Mile Interconnect                       0.00       0.00            0.00        0.00       2,198,201.52        2,198,201.52

  10 mile SWD- Bare Bones Rebuild            ono        0.00            0.00        ono        1,428,000.00        1,428,000.00

  Enhanced - Stonecreek South                ono        ono             0.00        0.00         269,106.77          269,106.77

  Enhanced TOM                               0.00       0.00            0.00        0.00          15,201.21           15,201.21

Total Enhanced Midstream                     ono        0,00            0.00        0.00       3,910,509.50        3,910,509.50



EOG Resources

  EOG - Chemical                             0.00       0.00            0.00        0.00          59,852.98           59,852.98

  EOG - maintenance TOM                      0.00       0.00            0.00        0.00         220,234.96          220,234.96

  EOG Pumping                                0.00       0.00            0.00        0.00          58,899.79           58,899.79

Total EOG Resources, Inc.                    0.00       0.00            ono         0.00         338,987.73          338,987.73



Gibson Energy Infrastructure, LLC            0,00       0.00            0.00        0.00             850.00              850.00



J-W Power Company                            0.00       0.00            0.00        noo            1,528.00            1,528.00



MYR Energy Services Inc

   MYR - Monmouth -1151                      0.00       0.00            0.00        0.00          79,220.60           79,220.60

Total MYR Energy Services Inc                0.00       0.00            0.00        0.00          79,220.60           79,220.60



NARENCO

   Stanly Solar 1144                         0.00       0.00            0.00        0,00       1.730,401.60        1,730.401.60

   Stanly Solar Electrical                   0.00       0.00            0.00        0.00       1,563,923.22        1,563,923.22

Total NARENCO                                0.00       0.00            0.00        0.00       3,294,324.82        3,294,324.82



Northern Natural Gas Company

   NNG - Gilmore City -9510                  0.00       0.00            0.00        0.00          73,228.68           73,228.68

   NNG - Omaha IF TOO -2167                  0.00       0.00            0.00        0.00         308,969.83          308,969.83

Total Northern Natural Gas Company           0.00       0.00            0.00        0.00         382,198.51          382,198.51



Orbital Solar Services
   Black Bear Solar -1157                    0.00       0.00            0.00        0.00         259,282.11          259,282.11

Total Orbital Solar Services                 0.00       0.00            0.00        0.00         259,282.11          259,282.11



PCL Construction

   Rayos Del Sot- 1134                       0.00           0.00        0.00        0.00       1,252,638.25        1,252,638.25

Total PCL Construction                       0.00       0.00            0.00        0.00       1,252,638.25         1,252,638.25



Rosendin Electric, Inc.

   Aktina Solar - 1128                       0.00           0.00        0.00        0.00       2,193,781.23        2.193,781.23

   Todd Solar - 1140                         0.00           0.00        0.00        0.00          32,311.26           32,311.26

Total Rosendin Electric, Inc.                0.00           0.00        0.00        0.00       2,226,092.49         2,226,092.49



Signal Energy Constructors, LLC

   Aragorn Solar -1129                       0.00           000         0.00        0.00        1,057,284.60        1,057,284.60

   Signal - Noble Solar -1141                0.00           0.00        0.00        0.00         870,185.55          870,185.55

   Titan -1138                               0.00           0.00        0.00        0.00        1,042,744.30        1,042,744.30

Total Signal Energy Constructors, LLC        0.00           0.00        0.00        0.00        2,970,214.45        2,970,214.45



United Renewable Energy LLC

   Pinson Electrical                         0.00           0.00        0.00        0.00         194,129.28          194,129.28

   URE - Pinson -1155                        0.00           0.00        0.00        0.00         115,488.44          115,488.44

Total United Renewable Energy LLC            0.00           0.00        0.00        0.00         309,617.72          309,617.72



 Total                                       0.00           0.00        0.00        0.00   $   16,251.730.18   $   16,251,730.18
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                                                          Document      Page 8 of 87
 Fill in this information to identify the case:

 Debtor name      Big Horn Construction & Reclamation LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number (if known)    24-42003-7
                                                                                                                           O Check if this is an
                                                                                                                              amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     • No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     0 Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                          page 1 of 1
           Case 24-42003-mxm7                       Doc 10         Filed 06/20/24 Entered 06/20/24 12:37:24                                              Desc Main
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 Fill in this information to identify the case:

Debtor name         Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)           24-42003-7
                                                                                                                                                   1:1 Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AJB: Assets - Real and
Personal Property (Official Form 206A1B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Patti:       List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

          0 Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $67,755.81
           360 Industrial Services                                           El Contingent
           4129 E. Van Buren Street #100                                     o Unliquidated
           Phoenix, AZ 85008                                                 • Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim: Trade debt
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? 1111 No 0 Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $37,853.45
           383 Construction LLC                                              O Contingent
           398 Orin Way                                                      O Unliquidated
           Douglas, WY 82633                                                 0 Disputed
           Date(s) debt was incurred _                                       Basis for the claim: Trade debt
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? I No 0 Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $68,746.19
           3W Energy Services                                                0 Contingent
           1703 S. Hwy 87                                                    o Unliquidated
           Lamesa, TX 79331                                                  0 Disputed
           Date(s) debt was incurred _                                       Basis for the claim: Trade debt
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? 111 No 0 Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $21,565.05
           4 Rivers Equipment LLC                                            0 Contingent
           1557 Promontory C ircle                                           o Unliquidated
           Suite 110                                                         • Disputed
           Greeley, CO 80634
                                                                             Basis for the claim: Trade debt
           Date(s) debt was incurred _
           Last 4 digits of account number _                                 Is the claim subject to offset? 111 No 0 Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 73
                                                                                                           49563
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Debtor      Big Horn Construction & Reclamation LLC                                         Case number Or known)             24-42003-7
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $143,673.11
         555 17th Street Investors LLC                             0 Contingent
         555 17th Street, Suite 170                                o Unliquidated
         Denver, CO 80202                                          0-Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Office Rent
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? II No     0 Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,800.00
         A Team Inc.                                               0 Contingent
         PO Box 153                                                0 Unliquidated
         Peotone, IL 60468                                         El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I No      0 Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,050.00
         A-C-T Environmental & Infrastructure Inc                  0 Contingent
         1875 West Main Street                                     o Unliquidated
         Bartow, FL 33830                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? INo 0 Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,372.26
         Absaroka Energy & Environmental Solution                  0 Contingent
         112 High Street                                           o Unliquidated
         Buffalo, WY 82834                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,422.44
         Acave Companies                                           0 Contingent
         1305W. Expwy. 83                                          0 Unliquidated
         Sullivan City, TX 78595                                   0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $28,962.50
         Accel Fusion LLC                                          0 Contingent
         2821 E. Pearl Street                                      O Unliquidated
         Odessa, TX 79761                                          0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 1111 No   0 Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $32,233.11
         Accurate Solutions LKLC                                   0 Contingent
         1473 Dark Corner Road                                     0 Unliquidated
         Jacksboro, TX 76458                                       0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No      0 Yes




                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 73
Official Form 206 E/F
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Debtor      Big Horn Construction & Reclamation LLC                                         Case number Or known)             24-42003-7
            Name

 3.12    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,150.52
         Ace Cloud Hosting                                         0 Contingent
         2537 E. Atlantic Blvd. #1331                              o Unliquidated
         Pompano Beach, FL 33062                                   0 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes

 3.13    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,110.12
         Ace Specialties                                           0 Contingent
         303 Industrial Avenue                                     o Unliquidated
         Odessa, TX 79761                                          O Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

 3.14    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,033.96
         Ace Valves LLC                                            0 Contingent
         5001 Devonian Avenue                                      o Unliquidated
         Odessa, TX 79762                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 1.1 No 0 Yes

 3.15    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,426.10
         ACP International Inc                                     0 Contingent
         521 N. Great SW Pkwy                                      0 Unliquidated
         Arlington, TX 76011                                       O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim:
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


 3.16    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $97,181.00
         Action Equipment                                          0 Contingent
         PO Box 2755                                               0 Unliquidated
         Weatherford, TX 76086                                     • Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? In No 0 Yes


 3.17    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $60,782.21
         ADP                                                       0 Contingent
         1 ADP Blvd.                                               0 Unliquidated
         Roseland, NJ 07068                                        O Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?      No 0 Yes


L3.18    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,627.01
         Advance Connections Inc                                   0 Contingent
         2015 McKenzie Drive                                           Unliquidated
         Suite 120                                                 0 Disputed
         Carrollton, TX 75006
                                                                   Basis for the claim: _
         Date(s) debt was incurred
                                                                   Is the claim subject to offset? •No 0 Yes
         Last 4 digits of account number ___




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3.19     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $159,606.04
         Advantage Equipment Rental & Sales LLC                    0 Contingent
         15850 US-377 South                                        o Unliquidated
         Fort Worth, TX 76126
                                                                   •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Equipment Rental
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? Ill No 0 Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,050.00
         Affect Enterprises LLC                                    O Contingent
         2538 Thomason Dr.                                         o Unliquidated
         Denver, CO 80205                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? III No 0 Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $328.50
         Affordable Storage Thomason                               0 Contingent
         3420 Thomason Dr                                          o Unliquidated
         Midland, TX 79703                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $400.00
         AG Tech Drainage                                          O Contingent
         40536 US Hwy 71                                           0 Unliquidated
         Sauk Centre, MN 56378                                     0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $46,012.62
         Agfinity Inc.                                             O Contingent
         4065 St. Cloud Dr.                                        o Unliquidated
         Suite 100                                                 0 Disputed
         Loveland, CO 80538
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred _
                                                                   Is the claim subject to offset?      No 0 Yes
         Last 4 digits of account number_

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,573.65
         Agri Sales US Inc                                         0 Contingent
         100 Main Street                                           o Unliquidated
         PO Box 37                                                 O Disputed
         Ceresco, NE 68017
                                                                   Basis for the claim: _
         Date(s) debt was incurred _
                                                                   Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number _


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $20,864.89
         Airgas USA LLC                                            o Contingent
         319 NE 23rd Street                                        o Unliquidated
         Fort Worth, TX 76164                                      O Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? • No 0 Yes




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3.26     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $13,410.60
         Alabama Pipe & Supply Co Inc                              0 Contingent
         5721 US-90                                                o Unliquidated
         Theodore, AL 36582                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $775.66
         Ally                                                      O Contingent
         PO Box 380901                                             o Unliquidated
         Minneapolis, MN 55438                                     O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $31,756.53
         Alpha Southwest Inc                                       O Contingent
         11105 Dyer Street                                         O Unliquidated
         El Paso, TX 79934                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? III No 0 Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $32,294.02
         Altec Capital Services LLC                                0 Contingent
         33 Inverness Center Pkwy                                  o Unliquidated
         Birmingham, AL 35242                                      0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $26,771.07
         America Supply LLC                                        O Contingent
         502 N. Grimes St.                                         O Unliquidated
         Hobbs, NM 88240                                           0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,347.50
         American Arbitration Assn.                                0 Contingent
         13727 Noel Road                                           o Unliquidated
         Suite 700                                                 0 Disputed
         Dallas, TX 75249
                                                                   Basis for the claim: Professional Fees
         Date(s) debt was incurred _
                                                                   Is the claim subject to offset? I. No 0 Yes
         Last 4 digits of account number_


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $389.28
         American Valve & Meter Service Inc                        O Contingent
         1113W. Broadway St.                                       o Unliquidated
         Hobbs, NM 88240                                           0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,468.78
         American Welding & Gas                                    0 Contingent
         4900 Falls of Neuse Road                                  o Unliquidated
         Suite 150                                                 0 Disputed
         Raleigh, NC 27609
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset? U No 0 Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $667,947.08
         Apple Electrical Contractors Inc                          O Contingent
         7540 Andrews Hwy                                          o Unliquidated
         Odessa, TX 79765                                          • Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 1111 No 0 Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $802.05
         Aqua Beverage Co./Ozarka                                  0 Contingent
         701-A West Jackson                                        o Unliquidated
         El Campo, TX 77437                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,557.50
         Arcadi Jackson                                            0 Contingent
         2911 Turtle Creek Blvd                                    o Unliquidated
         Suite 800                                                 0 Disputed
         Dallas, TX 75219
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number _
                                                                   Is the claim subject to offset? II No 0 Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $24,917.17
         Aries Building Systems LLC                                o Contingent
         3229 N. Main St.                                          o Unliquidated
         Cleburne, TX 76033                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? I. No 0 Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $22,000.00
         Arizona State University                                  O Contingent
         1151 S. Forest Ave                                        o Unliquidated
         Tempe, AZ 85287                                           0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Engineering Fees
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes


3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,900.00
         Armanino LLP                                              0 Contingent
         15950 Dallas Pkwy                                         0 Unliquidated
         Suite 600                                                 O Disputed
         Dallas, TX 75248
                                                                   Basis for the claim: _
         Date(s) debt was incurred _
                                                                   Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_




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3.40     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check that apply.               $8,219.12
         ASAP Drug Solutions Inc                                   0 Contingent
         1805 Arnold Dr.                                           o Unliquidated
         Martinez, CA 94553                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.41     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $8,565.00
         ASTAR Inc.                                                0 Contingent
         4155 W 16th Street                                        o Unliquidated
         Odessa, TX 79763                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? II No 0 Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,552.57
         Atkins Hollmann Jones Peacock & Lewis                     O Contingent
         3800 E. 42nd Street                                       o Unliquidated
         Odessa, TX 79762                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? IN No 0 Yes

3.43     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,761.92
         AXA Equitable - Retirement                                0 Contingent
         PO Box 1016                                               o Unliquidated
         Charlotte, NC 28201                                       O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check a// that apply.          $15,327.78
         Axis Energy Services LLC                                  0 Contingent
         2758 S Access Road                                        o Unliquidated
         Longview, TX 75602                                        O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,000.00
         B&M Fabrication & Welding                                 0 Contingent
         5226 Buttercup Ct.,                                       o Unliquidated
         Granbury, TX 76049                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes


3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,461.00
         B&R Excavating LLC                                        0 Contingent
         6570 420th Street                                         o Unliquidated
         Sutherland, IA 51058                                      0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? IN No 0 Yes




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3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $21,750.00
         Barmore Enterprises Inc.                                  0 Contingent
         2203 W 3rd Street                                         0 Unliquidated
         Pecos, TX 79772                                           0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? 111 No    0 Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,466.00
         Basin Safety Consulting Corp.                             0 Contingent
         2740 Sims St., Suite B                                    o Unliquidated
         Dickinson, ND 58601                                       0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,714.29
         Baymont by Wyndham                                        0 Contingent
         22 Sylvan Way                                             o Unliquidated
         Parsippany, NJ 07054                                      0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? III No    0 Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $133,350.30
         BD Holt Co.                                               0 Contingent
         5665 SW Loop 410                                          0 Unliquidated
         San Antonio, TX 78222                                     111 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I No      0 Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,159.34
         BDA Equipment Rentals                                     0 Contingent
         2767 South Loop 464                                       o Unliquidated
         Monahans, TX 79756                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,500.00
         Bennett Weber & Hermstad LLP                              o Contingent
         319S. Gillette Ave.                                       o Unliquidated
         Gillette, WY 82716                                        o Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No      0 Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,992.42
         Best Buy Business Advantage                               0 Contingent
         PO Box 10922                                              o Unliquidated
         Overland Park, KS 66225                                   0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No       0 Yes




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3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,871.18
         Big Horn Tire Inc                                         0 Contingent
         501 Westside Dr                                           o Unliquidated
         Gillette, WY 82718                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   lathe claim subject to offset? U No 0 Yes
                                                                                              /



3.55     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $14,468.01
         Big 0 Tires                                               0 Contingent
         4280 Professional Center Dr                               o Unliquidated
         Suite 400                                                 0 Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset?     No 0 Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,743.63
         Bighorn Mountain Electric LLC                             O Contingent
         1309 Coffeen Ave., Suite 1200                             O Unliquidated
         Sheridan, WY 82801                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,876.48
         Bill Williams Tire Center                                 0 Contingent
         1160 Horizon Blvd.                                        o Unliquidated
         El Paso, TX 79927                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? 111 No 0 Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $51,267.65
         Black Gold Energy Services NM                             0 Contingent
         221 N. Burk Street                                        o Unliquidated
         Hobbs, NM 88240                                           0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes


3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,752.90
         Black Hills Truck & Trailer Inc                           O Contingent
         2910 E. Mall Drive                                        O Unliquidated
         Rapid City, SD 57701                                      O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes


3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $44,392.07
         Blackline Energy Services LLC                             0 Contingent
         10001 W. Interstate 20                                    O Unliquidated
         Unit B                                                    O Disputed
         Midland, TX 79706
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred _
                                                                   Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_




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3.61     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,239.89
         Bobcat of Gillette                                         O Contingent
         4520 S. Douglass Hwy                                       o Unliquidated
         Gillette, WY 82718                                         O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.62     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $86,743.29
         Bottom Line Equipment LLC                                  O Contingent
         63001-20                                                   o Unliquidated
         Aledo, TX 76008                                            •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? In No 0 Yes

3.63     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $146,061.22
         BPS Supply Group                                           El Contingent
         5708 North FM 1788                                         o Unliquidated
         Midland, TX 79707                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? 111 No 0 Yes


3.64     Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.           $4,171.40
         Brackett & Ellis                                           0 Contingent
         100 Main Street                                            o Unliquidated
         Fort Worth, TX 76102                                       0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Attorney Fees
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?      No 0 Yes


3.65     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $98,605.08
         Bradley Arant Boult Cummings LLP                           O Contingent
         Fountain Place                                             0 Unliquidated
         1445 Ross Ave., Suite 3600                                 0 Disputed
         Dallas, TX 75202
                                                                    Basis for the claim: Attorney Fees
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_


3.66     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $945.00
         Bradshaw Fowler Proctor & Fairgrave                        O Contingent
         801 Grand Avenue                                           O Unliquidated
         Suite 3700                                                 O Disputed
         Des Moines, IA 50309
                                                                    Basis for the claim: _
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_


3.67     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $39,454.67
         Brandon & Clark Inc.                                       El Contingent
         3623 Interstate 27                                         o Unliquidated
         Lubbock, TX 79404                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.68     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $17,692.00
         Braun Intertec                                             0 Contingent
         11001 Hampshire Avenue S                                   0 Unliquidated
         Minneapolis, MN 55438                                      0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? 111 No 0 Yes

3.69     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $2,420.00
         Braun Trucking Inc                                         0 Contingent
         335 2nd Street SE                                          o Unliquidated
         Tioga, ND 58852                                            0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes

3.70     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $100,563.75
         Brock White Construction Supply                            0 Contingent
         2575 Kasotas Ave                                           o Unliquidated
         Saint Paul, MN 55108                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes

3.71     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $17,730.50
         Browning's Concrete Pumping & Trucking                     0 Contingent
         3501 Old Granbury Rd.                                      o Unliquidated
         Granbury, TX 76049                                         0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes

3.72     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $762.52
         Burton Companies LLC                                       O Contingent
         529 E. Expressway 83                                       o Unliquidated
         Weslaco, TX 78599                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? 111 No 0 Yes


3.73     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check that apply.               $8,514.95
         Butch's Rat Hole & Anchor Service Inc.                     0 Contingent
         700 Austin Street                                          o Unliquidated
         Levelland, TX 79336                                        0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.74     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $570.00
         CA Secretary of State                                      O Contingent
         1500 11st Street                                           o Unliquidated
         Sacramento, CA 95814                                       O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Taxes
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.75     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $3,822.50
         Cactus Fresh Water LLC                                     O Contingent
         501 North Pyote                                            o Unliquidated
         Wink, TX 79789                                             El Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.76     Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.       $39,000,000.00
         Cadence Bank                                               O Contingent
         2800 N. Loop West, Suite 1000                              o Unliquidated
         Houston, TX 77092                                          • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim:    Loan
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1.1 No 0 Yes

3.77     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check al/ that apply.          $34,422.02
         Cain Electerical Supply Corp                               O Contingent
         PO Box 2158                                                o Unliquidated
         Big Spring, TX 79721                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes

3.78     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $10,000.00
         Calfee Halter & Griswold                                   0 Contingent
         1405 East Sixth Street                                     o Unliquidated
         Cleveland, OH 44114                                        0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes
3.79     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $760.44
         Campbell County Treasurer                                  0 Contingent
         500 S. Gillette Ave.                                       o Unliquidated
         Gillette, WY 82716                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes


3.80     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $9,261.00
         Canary LLC                                                 O Contingent
         2412 East Interstate Hwy 20                                o Unliquidated
         Odessa, TX 79766-6000                                      0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No 0 Yes


3.81     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.        $3,830,588.00
         Cannon Advance                                             O Contingent
         5308 13th Avenue, Suite 324                                o Unliquidated
         Brooklyn, NY 11219                                         1111 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim:    Loan
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I. No 0 Yes




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3.82     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,828.54
         Canon Financial Services Inc                               O Contingent
         158 Gaither Drive                                          o Unliquidated
         Mount Laurel, NJ 08054
                                                                    ▪ Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes


3.83     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $11,848.46
         Capital Lumber CO                                          O Contingent
         1044 E 66th Ave.                                           0 Unliquidated
         Denver, CO 80229                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    lathe claim subject to offset?    INo 0 Yes

3.84     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $978.80
         Cardinal Hardware & Lumber                                 O Contingent
         1231 Main Street                                           o Unliquidated
         Eunice, NM 88231                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    lathe claim subject to offset? 1111 No 0 Yes


3.85     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $964.90
         Carson's Nut - Bolt & Tool Company Inc                     0 Contingent
         621 McGee Road                                             o Unliquidated
         Anderson, SC 29625                                         O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    lathe claim subject to offset? I
                                                                                                   No 0 Yes


3.86     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,352.85
         Carter CAT Machinery                                       O Contingent
         18471 Spring Creek Rd.                                     o Unliquidated
         Abingdon, VA 24210                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.87     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $12,389.52
         Cat Commercial Account                                     0 Contingent
         122 Noxon Road                                             o Unliquidated
         Poughkeepsie, NY 12603                                     0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No 0 Yes


3.88     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $325,649.16
         CAT Financial                                              0 Contingent
         2120 West End Avenue                                       o Unliquidated
         Nashville, TN 37203                                        •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Equipment Loan
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? I
                                                                                                    No 0 Yes




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3.89     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $36,395.00
         Choat Enterprises Inc.                                     El Contingent
         1337 E. 5th Street                                         El Unliquidated
         Odessa, TX 79761                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.90     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $76,900.00
         Chris Gibson Logging LLC                                   0 Contingent
         114 Sycamore View Lane                                     o Unliquidated
         Broken Bow, OK 74728                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.91     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $14,557.10
         Cintas Corporation                                         O Contingent
         3450 Northern Cross Blvd.                                  o Unliquidated
         Fort Worth, TX 76137                                       •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes

3.92     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $300,560.64
         Citadel Insurance Services                                 0 Contingent
         2600 W. Executive Pkwy                                     o Unliquidated
         Suite 500                                                  •   Disputed
         Lehi, UT 84043
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number_                           Is the claim subject to offset?      No 0 Yes


3.93     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $187.50
         CJB Construction                                           0 Contingent
         31 Steel Road                                              o Unliquidated
         Wylie, TX 75098                                            O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? Ill No 0 Yes


3.94     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $213.60
         Clyde Henson                                               0 Contingent
         1421 Great Prairie Drive                                   o Unliquidated
         Gillette, WY 82717                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes


3.95     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,195.93
         Collection Professionals Inc.                              0 Contingent
         29 N. Connor Street                                        o Unliquidated
         Sheridan, WY 82801                                         O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.96     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $351.76
         Colonial Life                                              O Contingent
         PO Box 1365                                                o Unliquidated
         Columbia, SC 29202                                         0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? INo 0 Yes

3.97     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $19,153.16
         Colony Hardware                                            0 Contingent
         3025 N. Great SW Pkwy                                      0 Unliquidated
         Grand Prairie, TX 75050                                    0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.98     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $138.07
         Colorado Dept. of Labor & Employment                       O Contingent
         633 17th Street, Suite 600                                 0 Unliquidated
         Denver, CO 80202                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.99     Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,229.00
         Colorado Dept. of Revenue                                  O Contingent
         1881 Pierce Street                                         o Unliquidated
         Denver, CO 80214                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Taxes
         Last 4 digits of account number
                                                                    Is the claim subject to offset? INo 0 Yes


3.100    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $195.26
         Comcast                                                    O Contingent
         1701 JFK Blvd.                                             o Unliquidated
         Philadelphia, PA 19103                                     0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Cable Bill
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes


3.101    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $37,968.21
         Compass Cementing Services LLC                             0 Contingent
         4100 International Plaza                                   o Unliquidated
         Suite 500                                                  0 Disputed
         Fort Worth, TX 76109
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes

3.102    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $14,162.08
         Complete Energy Services Inc.                              o Contingent
         3333 1-35, Building F                                      o Unliquidated
         Gainesville, TX 76240                                      0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes




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3.103    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $71,973.56
         Connet Fab LLC                                             O Contingent
         PO Box 1783                                                o Unliquidated
         Jacksonville, TX 75766                                     O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I No 0 Yes

3.104    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $20,063.86
         Converse County Treasurer                                  0 Contingent
         107 N. 5th Street                                          El Unliquidated
         Douglas, WY 82633                                          O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Taxes
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes

3.105    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,445.05
         Cooper Water Sales                                         0 Contingent
         254 Chapman Rd., Suite 208                                 o Unliquidated
         Newark, DE 19702                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes

3.106    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $5,080.52
         Core & Main Geosynthetics                                  O Contingent
         1830 Craig Park Court                                      o Unliquidated
         Saint Louis, MO 63146                                      0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No 0 Yes


3.107    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $8,476.49
         Cort Business Services Corp                                El Contingent
         14850 Conference Center Drive                              o Unliquidated
         Suite 110                                                  0 Disputed
         Chantilly, VA 20151
                                                                    Basis for the claim: _
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_


3.108    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,410.54
         Cotton Bledsow Tighe Dawson                                0 Contingent
         500 W. Illinois Ave.                                       o Unliquidated
         Midland, TX 79701                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.109    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $15,820.00
         Covery Brothers Contracting                                ID Contingent
         2301 N. Masch Branch Rd.                                   o Unliquidated
         Suite 208                                                  O Disputed
         Denton, TX 76207
                                                                    Basis for the claim: _
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_




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3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,015.50
         Crane Rental LLC                                          O Contingent
         1901 West Collins Ave.                                    0 Unliquidated
         Orange, CA 92867                                          El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? • No      n Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         Credit Collection Services Commercial                     0 Contingent
         725 Canton St.                                            0 Unliquidated
         Norwood, MA 02062                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? • No      0 Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,400.10
         Credo Energy Services LLC                                 0 Contingent
         1402 South 23rd Street                                    0 Unliquidated
         Artesia, NM 88210                                         O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No      0 Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $157,484.88
         Crossfire LLC                                             O Contingent
         5805 FM 1788                                              0 Unliquidated
         Midland, TX 79706                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? • No 0 Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,952.50
         Crowley FLeck PLLP                                        0 Contingent
         100 W. Broadway Ave.                                      o Unliquidated
         Bismarck, ND 58501                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? • No      0 Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,985.88
         Crude State Energy Services LLC                           O Contingent
         115 N. Cedar Street                                       o Unliquidated
         Pecos, TX 79772                                           O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No      0 Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Culligan Water Conditioning                               0 Contingent
         9399 W. Higgins Road                                      0 Unliquidated
         Suite 1100                                                O Disputed
         Des Plaines, IL 60018
                                                                   Basis for the claim: _
         Date(s) debt was incurred _
                                                                   Is the claim subject to offset? U No 0 Yes
         Last 4 digits of account number_




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3.117    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $180,759.66
         Customer Truck & Equipment LLC                             El Contingent
         7701 East 24 Highway                                       0 Unliquidated
         Kansas City, MO 64125                                      0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes

3.118    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $20,899.12
         Dakota Equipment Rental                                    0 Contingent
         4435 E. Colorado Blvd.                                        Unliquidated
         Spearfish, SD 57783                                        0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.119    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $914,301.60
         Dannah Investment Group                                    0 Contingent
         1717 Main St., Suite 5650                                  o Unliquidated
         Dallas, TX 75201                                           • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Professional Fees
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes

3.120    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,000.00
         Darrel L. Rhyne, RS                                        0 Contingent
         9227 State Hwy. 17                                         o Unliquidated
         Balmorhea, TX 79718                                        O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.121    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,394.50
         David Coffin PLLC                                          0 Contingent
         300 Miron Drive                                            o Unliquidated
         Southlake, TX 76092                                        0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I. No 0 Yes


3.122    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.                 $0.00
         David Pesina Jr.                                           0 Contingent
         736 W. Sheridan Ave.                                       o Unliquidated
         Nampa, ID 83686                                            O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.123    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,890.00
         DCA PR LLC                                                 0 Contingent
         468 N. Main Street                                             Unliquidated
         Medina, TN 38355                                           O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No 0 Yes




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3.124    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $220,761.49
         Delta Fuel Company LLC                                     O Contingent
         1000 Wells Island Rd.                                      o Unliquidated
         Shreveport, LA 71107                                       •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes
3.125    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $550.00
         Dept of Treasury                                           O Contingent
         Internal Revenue Services                                  El Unliquidated
         Ogden, UT 84201                                            0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.126    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check a// that apply.                 $0.00
         Derrick Brimingham                                         o Contingent
         804 Nob Hill Drive #C                                      o Unliquidated
         Birmingham, AL 35209                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No 0 Yes

3.127    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $744.82
         Design Space Modular Bldgs, Inc                            O Contingent
         26020 Acero, Suite 100                                     o Unliquidated
         Mission Viejo, CA 92691                                    0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I. No 0 Yes


3.128    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $169.11
         DICarlo Precision Instrument Inc.                          0 Contingent
         2006 Northwood Drive                                       o Unliquidated
         Salisbury, MD 21801                                        O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes


3.129    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.        $1,054,300.00
         Direct Business Funders LLC                                0 Contingent
         175 Great Neck Road                                        o Unliquidated
         Great Neck, NY 11021                                       •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Loan
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? Ill No 0 Yes


3.130    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,353.51
         DISA Global Solutions Inc.                                 El Contingent
         10900 Corporate Centre Dr.                                 o Unliquidated
         Suite 250                                                  El Disputed
         Houston, TX 77041
                                                                    Basis for the claim: _
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? •No 0 Yes
         Last 4 digits of account number _




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3.131    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $11,278.75
         DJ Express Inc                                             o Contingent
         PO Box 12836                                               o Unliquidated
         Longview, TX 75607                                         0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes

3.132    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $154,618.81
         Doggett Heavy Machinery Svcs LLC                           0 Contingent
         9111 North Freeway                                         0 Unliquidated
         Houston, TX 77037                                          • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes

3.133    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,669.50
         Dossier Systems Inc.                                       0 Contingent
         6 Terri Lane, Suite 700                                    0 Unliquidated
         Burlington, NJ 08016                                       0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? MI No     0 Yes

3.134    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $108,912.34
         Double Z Service & Supply LLC                              0 Contingent
         631 1-20                                                   0 Unliquidated
         Pecos, TX 79772                                            0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   0 Yes

3.135    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,435.00
         Dougherty Safety Consulting LLC                            0 Contingent
         1011 Energy Street, Bldg. 2                                o Unliquidated
         Gillette, WY 82717                                         O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? MI No     0 Yes

3.136    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $32,015.22
         Dovetail Distributors                                      O Contingent
         101 Nursery Lane, Suite 303                                0 Unliquidated
         Fort Worth, TX 76114                                       0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                  - Is the claim subject to offset? • No 0 Yes

3.137    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $615,649.22
         Dozer Ltd                                                  0 Contingent
         3411 Silverside Rd., Suite 104                             o Unliquidated
         Wilmington, DE 19810                                       El Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes




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3.138    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,490.00
         Driven Services                                            0 Contingent
         4010 Katie Lane                                            o Unliquidated
         Midland, TX 79706                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes
3.139    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $122.40
         E-470 Public Highway Authority                             0 Contingent
         22470 E. 6th Parkway                                          Unliquidated
         Suite 100                                                  0 Disputed
         Aurora, CO 80018
                                                                    Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                           Is the claim subject to offset?   • No 0 Yes

3.140    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $14,738.00
         Eagle Compression LLC                                      0 Contingent
         2 Eagle Industrial Drive                                   o Unliquidated
         Troy, MO 63379                                             0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? INo       0 Yes

3.141    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check      that apply.           $181.20
         EDI                                                        0 Contingent
         616 W. Monument Rd.                                        0 Unliquidated
         Colorado Springs, CO 80905                                 0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes

3.142    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $17,033.91
         Elevated Electrical Services LLC                           0 Contingent
         PO Box 80726                                               0 Unliquidated
         Midland, TX 79708                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.143    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check that apply.               $2,678.40
         Ellison Fluid Calipers LLC                                 o Contingent
         7 Casa Loma                                                0 Unliquidated
         Odessa, TX 79765                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes

3.144    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all Mat apply.            $3,602.56
         Emergency Ice Inc                                          0 Contingent
         8300 Sovereign Row                                         0 Unliquidated
         Dallas, TX 75247                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes




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3.145    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,800.00
         Emeterio Valerio del Viliar                                0 Contingent
         1220 Winchester Blvd.                                      o Unliquidated
         Rock Springs, WY 82901                                     0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? II No 0 Yes

3.146    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $11,505.00
         Encompass Services LLC                                     EI Contingent
         2750 S. Wadworth Blvd                                      o Unliquidated
         Suite C-202                                                El Disputed
         Denver, CO 80227
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number _                          Is the claim subject to offset?      No 0 Yes


3.147    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $13,539.00
         Energy Pipe & Equipment Rental LLC                         O Contingent
         2450 SW Evangeline Thrwy                                   o Unliquidated
         Lafayette, LA 70508                                        0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes

3.148    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,019.16
         Envirocon Systems Inc                                      0 Contingent
         1910 Rankin Rd.                                            o Unliquidated
         Houston, TX 77073                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes


3.149    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,663.56
         Envirotech Engineering & Consulting Inc                    0 Contingent
         2500 N. 11th Street                                        o Unliquidated
         Enid, OK 73701                                             O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? II No 0 Yes


3.150    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply           $10,686.00
         Equip Energy Company                                       o Contingent
         345 Cabal Park Drive                                       o Unliquidated
         Suite 200                                                  0 Disputed
         Duluth, MN 55802
                                                                    Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   IIII No 0 Yes

3.151    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $67,573.75
         Equipment & Parts                                          El Contingent
         5610 E Loop 281 South                                      o Unliquidated
         Longview, TX 75602                                         O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.152    Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $13,500.68
         Equipment Plus                                            0 Contingent
         PO Box 209                                                o Unliquidated
         Dennis, TX 76439                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,328.57
         Equipment Share                                           El Contingent
         719 Arrowest Ct.                                          o Unliquidated
         Grand Junction, CO 81505                                  0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? 1111 No   0 Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $42,138.34
         ETI - A Palfinger Co                                      0 Contingent
         15939 Piuma Avenue                                        0 Unliquidated
         Cerritos, CA 90703                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $116,004.90
         Express 4x4 Truck Rental                                  O Contingent
         330 S. Warminster Rd.                                     O Unliquidated
         Suite 334                                                 O Disputed
         Hatboro, PA 19040
                                                                   Basis for the claim: Vehicle Rent
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset?     No    0 Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,210.00
         Exserv Facility Services Inc                              0 Contingent
         890 Chancellor Row                                        o Unliquidated
         Suite B                                                   0 Disputed
         Dallas, TX 75247
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number _                         Is the claim subject to offset?     No    0 Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,769,512.26
         F7 SSSM LLC                                               0 Contingent
         The Brookdale Group                                       O Unliquidated
         3455 Peachtree Rd., Suite 300                             0 Disputed
         Atlanta, GA 30326
                                                                   Basis for the claim: Office Rent
         Date(s) debt was incurred _

         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No    0 Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,600.00
         Fast Track Transportation LLC                             0 Contingent
         15402 Vantage Parkway East                                o Unliquidated
         Suite 322                                                 0 Disputed
         Houston, TX 77032
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   1111 No 0 Yes




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3.159    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,513.86
         Fastenal                                                   0 Contingent
         2001 Theurer Blvd.                                         o Unliquidated
         Winona, MN 55987                                           o Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.160    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $172.26
         FedEx                                                      0 Contingent
         942 South Shady Grove Rd.                                  o Unliquidated
         Memphis, TN 38120                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes

3.161    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $271,046.59
         FEI Ferguson Waterworks                                    0 Contingent
         751 Lakefront Commons                                      0 Unliquidated
         Newport News, VA 23606                                     •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes

3.162    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.                 $0.00
         FireMaster                                                 O Contingent
         310 E. 34th Street                                         O Unliquidated
         Lubbock, TX 79404                                          o Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim:
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? III No 0 Yes


3.163    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $46,643.36
         Fisher Sand & Gravel Co.                                   0 Contingent
         5310 Coleman Ranch Rd.                                     o Unliquidated
         Tolar, TX 76476                                            0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? El No 0 Yes


3.164    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $39,595.58
         Flex Fleet Rentals LLC                                     0 Contingent
         2855 East Cottonwood Pkwy                                  o Unliquidated
         Suite 100                                                  •   Disputed
         Salt Lake City, UT 84121
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number_                           Is the claim subject to offset? •No 0 Yes


3.165    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.              $50.00
         Florida Dept of Revenue                                    0 Contingent
         5050 W. Tennesee Street                                    0 Unliquidated
         Tallahassee, FL 32399                                      0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.166    Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,127.72
         Foley Carrier Services LLC                                0 Contingent
         1601 Elm Street, Suite 4360                               0 Unliquidated
         Dallas, TX 75201                                          El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $941.32
         Forrest Tire Co Inc.                                      0 Contingent
         2225 NW County Rd.                                        0 Unliquidated
         Hobbs, NM 88240                                           O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,889.94
         Forza Safety LLC                                          0 Contingent
         PO Box 460                                                o Unliquidated
         Shallowater, TX 79363                                     0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? E No 0 Yes


3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,859.50
         Franklin Mountain Permian LP                              0 Contingent
         123W. Mills Ave., Suite 600                               0 Unliquidated
         El Paso, TX 79901                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $223.09
         Franks Supply Company                                     O Contingent
         3311 Stanford Dr. NE                                      0 Unliquidated
         Albuquerque, NM 87107                                     0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No      0 Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,750.00
         Freeland & Kauffman Inc.                                  0 Contingent
         209 W. Stone Ave.                                         o Unliquidated
         Greenville, SC 29609                                      O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No    0 Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $19,867.71
         Freese & Nichols Inc                                      0 Contingent
         801 Cherry St., Suite 2800                                0 Unliquidated
         Fort Worth, TX 76102                                      0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Engineering Fees
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No      0 Yes




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3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $573.53
         Friendly Chevrolet Buick                                  El Contingent
         2754 N. Stemmons Frwy                                     0 Unliquidated
         Dallas, TX 75207                                          El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No      0 Yes
3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,309.50
         Front Range Hydro-bandits                                 0 Contingent
         26199 County Road 52                                      0 Unliquidated
         Kersey, CO 80644                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   INo 0 Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $452.58
         FSA Equipment LLC                                         0 Contingent
         1987 Troy Road                                            0 Unliquidated
         Washington, IN 47501                                      0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,180.00
         Fusion Testing LLC                                        0 Contingent
         210 Malapardis Rd., Suite 103                             0 Unliquidated
         Cedar Knolls, NJ 07927                                    El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $114,200.00
         G&E Contractors LLC                                       0 Contingent
         1613 E. Mile 5 N                                          o Unliquidated
         Weslaco, TX 78596                                         • Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 0 No          Yes


3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $146.86
         G&L Cattle                                                0 Contingent
         950 FM 1995                                               0 Unliquidated
         Van, TX 75790                                             0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         GDL Industrial Electronics                                0 Contingent
         1303 Cotton Flat Rd.                                      0 Unliquidated
         Midland, TX 79701                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes




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3.180     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,291.67
          GenPro LLC                                                0 Contingent
          3500 S. Country Road 1290                                 0 Unliquidated
          Odessa, TX 79765                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? • No 0 Yes

3.181     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,936.26
          GeoCorr Pipeline Inspection Technologies                  0 Contingent
          11050W. Little York Rd., Building H                       0 Unliquidated
          Houston, TX 77041                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? • No 0 Yes

3.182     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,370.96
          Get A Grip Supplies Inc.                                  0 Contingent
          14121 N. Shady Lane                                       o Unliquidated
          Hobbs, NM 88242                                           O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? • No 0 Yes

3.183     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $389,294.93
          Getsco Inc.                                               O Contingent
          10791 E. Finch Ave.                                       0 Unliquidated
          Middlesex, NC 27557                                       • Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 0 No • Yes

3.184     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,246.30
          Git-R-Done Site Services Inc.                             O Contingent
          5840 Mohan Road                                           o Unliquidated
          Gillette, WY 82718                                        0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? • No 0 Yes

3.185     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,164.58
          GM Feeds                                                  0 Contingent
          4000 Taylorsville Hwy                                     o Unliquidated
          Statesville, NC 28625                                     O Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes


3.186     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,499.75
          Good Times Trucking LLC                                   O Contingent
          408 N. 4th Street                                         o Unliquidated
          Loving, NM 88256                                          O Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? E No 0 Yes




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3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $192.42
         Goodell Machinery & Construction                          El Contingent
         18847 County Road 72                                      o Unliquidated
         Eaton, CO 80615                                           0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $908.01
         Goosmann Law Firm PLC                                     0 Contingent
         2101 W. 69th Street, Suite 200                            o Unliquidated
         Sioux Falls, SD 57108                                     O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I. No 0 Yes


3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $823.24
         Grainger                                                  O Contingent
         100 Grainger Parkway                                      o Unliquidated
         Lake Forest, IL 60045                                     O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,700.00
         Green Mule Services LLC                                   o Contingent
         1601 Evans                                                o Unliquidated
         Midland, TX 79701                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? R No 0 Yes


3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,247.00
         GSS Construction & Oilfield Supply                        0 Contingent
         12020W. Interstate 20 East                                o Unliquidated
         Odessa, TX 79763                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes


3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,680.96
         Gulfstream Legal Group LLC                                0 Contingent
         720 N. Post Oak Road, Suite 355                           o Unliquidated
         Houston, TX 77024                                         O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Attorney Fees
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes


3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $320.00
         Hackler High Caliber Construction                         O Contingent
         2500 County Road 405                                      o Unliquidated
         Alvarado, TX 76009                                        O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? III No 0 Yes




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3.194    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.          $11,188.93
         Hale Trailer                                               o Contingent
         1711 IA-210                                                0 Unliquidated
         Huxley, IA 50124                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes

3.195    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,818.85
         Hall & Evans LLC                                           0 Contingent
         1001 17th Street, Suite 3000                               o Unliquidated
         Denver, CO 80202                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Attorney Fees
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.196    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $40,469.50
         Haynes & Boone LLP                                         0 Contingent
         2801 N. Harwood St., Suite 2300                                Unliquidated
         Dallas, TX 75201                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Attorney Fees
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   INo 0 Yes

3.197    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $34,500.00
         HDDS LLC                                                   0 Contingent
         1999 Bryan St., Suite 900                                  o Unliquidated
         Dallas, TX 75201                                           •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes

3.198    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $57,186.15
         Heavy Equipment Rentals of Texas LLC                       0 Contingent
         4629 Priem Lane                                            0 Unliquidated
         Pflugerville, TX 78660                                     •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Equipment Rent
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes

3.199    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,426.78
         Herc Rentals Inc.                                          0 Contingent
         27500 Riverview Center Blvd.                               0 Unliquidated
         Suite 100                                                  0 Disputed
         Bonita Springs, FL 34134
                                                                    Basis for the claim: _
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? •No       0 Yes
         Last 4 digits of account number_

3.200    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $41,136.75
         High Mountain Inspection Services Inc                      0 Contingent
         2000 Revenue Blvd.                                         o Unliquidated
         Casper, WY 82601                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes




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3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,322.77
         High Reach Equipment LLC                                  O Contingent
         2624 West 30th Street South                               o Unliquidated
         Wichita, KS 67217                                         O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? al No 0 Yes


3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,825.97
         Hilliard Office Solutions                                 0 Contingent
         3001 W Loop 250 N                                         0 Unliquidated
         Suite E-127                                               0 Disputed
         Midland, TX 79705
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset?   •   No 0 Yes


3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,502.50
         Hitek Communications Inc.                                 O Contingent
         411 S. Walsh Drive #A137                                  o Unliquidated
         Casper, WY 82609                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?       No 0 Yes


3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $801.74
         Hobbs Welding Supply                                      0 Contingent
         123 N. Grimes Street                                      o Unliquidated
         Hobbs, NM 88240                                           0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?       No 0 Yes


3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,564.61
         Hoffer Auto Care                                          0 Contingent
         2201 N. Mechanic Street                                   o Unliquidated
         El Campo, TX 77437                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?       No 0 Yes


3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $377,000.00
         Honnen Equipment Company                                  O Contingent
         5055 East 72nd Avenue                                     o Unliquidated
         Commerce City, CO 80022                                   •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Equipment Rent
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? MI No 0 Yes


3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,120.20
         Howard Supply Company LLC                                 0 Contingent
         4100 International Plaza #850                             o Unliquidated
         Fort Worth, TX 76109                                      0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? • No 0 Yes




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3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,612.25
         HPF Consultants Inc                                       0 Contingent
         3106 N. Big Spring                                            Unliquidated
         Suite 100                                                 0 Disputed
         Midland, TX 79705
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset?     No 0 Yes


3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,921.00
         HUB International Mountain States Ltd.                    0 Contingent
         3545 Gabel Road                                           o Unliquidated
         Billings, MT 59102                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? II No 0 Yes


3.210    Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $460,472.00
         Hunt Gulliot & Associates LLC                             0 Contingent
         603 Reynolds Drive                                        o Unliquidated
         Ruston, LA 71270                                          •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                                                    1 No 0 Yes
                                                                   Is the claim subject to offset? 1.


3.211    Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check that apply.               $9,925.01
         Hydrostatic Pipe Service Inc                              0 Contingent
         3030 W. Marland Blvd.                                     o Unliquidated
         Hobbs, NM 88240                                           0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   1111 No 0 Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,972.58
         Hytorc                                                    0 Contingent
         7900 Rodeo Trail, Suite 500                               o Unliquidated
         Mansfield, TX 76063                                       0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? MI No 0 Yes


3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,220.23
         iCopy LLC                                                 O Contingent
         1010 W. Business 380                                      o Unliquidated
         Decatur, TX 76234                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No 0 Yes


3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $54,430.00
         Ignite Energy Services LLC                                0 Contingent
         5173 US-69                                                o Unliquidated
         Lufkin, TX 75904                                          0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No 0 Yes




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3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,988.76
         Imperial Supplies LLC                                     O Contingent
         300 N. Madison Street                                     o Unliquidated
         PO Box 11008                                              O Disputed
         Green Bay, WI 54307
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number _                         Is the claim subject to offset?   IN No 0 Yes

3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,232.50
         Imperial Testing & Engineering Inc                        O Contingent
         3907 Kidron Road                                          o Unliquidated
         Lakeland, FL 33811                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? El No 0 Yes

3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $202.12
         IN Dept of Child Support                                  O Contingent
         402 W. Washington Street                                  o Unliquidated
         Indianapolis, IN 46204                                    O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $118,066.89
         Industrial Fabrics Inc                                    0 Contingent
         510 O'Neal Lane                                           O Unliquidated
         Baton Rouge, LA 70819                                     O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes

3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $285,380.64
         Industrial Hose & Oilfield Supply                         O Contingent
         1713 Hines Road                                           o Unliquidated
         Cleburne, TX 76031                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,672.51
         Industrial Informaton Resources                           0 Contingent
         2277 Plaza Drive, Suite 300                               o Unliquidated
         Sugar Land, TX 77479                                      O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes


3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,816.31
         Industrial Power                                          O Contingent
         703 Whitfield Street                                      o Unliquidated
         Fayetteville, NC 28306                                    0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes




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3.222    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check a//that apply.             $600.00
         Industrial Training Services                               0 Contingent
         120 Cs-1000                                                o Unliquidated
         Murray, KY 42071                                           El Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.223    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $45,393.50
         Innovex Downhole Solutions Inc,                            0 Contingent
         4310 N. Sam Houston Pkwy E                                 El Unliquidated
         Houston, TX 77032                                          El Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.224    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $12,265.00
         Inspection Associates                                      0 Contingent
         15934 Cypress North Houston Rd.                            o Unliquidated
         Cypress, TX 77429                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes

3.225    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $44,720.45
         Intermountain Electric Service Inc                         0 Contingent
         777 Main Street, Suite 3000                                o Unliquidated
         Fort Worth, TX 76102                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? II No 0 Yes


3.226    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $5,833.89
         Invictus Tools LLC                                             Contingent
         501 Winscott Road                                          o Unliquidated
         Benbrook, TX 76126                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? III No 0 Yes


3.227    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $25,151.35
         IR Express Trucking LLC                                    El Contingent
         306 N. Jefferson St.                                       o Unliquidated
         Hobbs, NM 88240                                            O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.228    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $8,068.56
         ISCO Industies Inc                                         0 Contingent
         58301 Marietta Road                                        o Unliquidated
         Byesville, OH 43723                                        O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? 1111No 0 Yes




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3.229    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $15,377.81
         J and C Investments                                        O Contingent
         2611 Highway 35 North                                      0 Unliquidated
         Rockport, TX 78382                                         0 Disputed
         Date(s) debt was incurred
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? • No 0 Yes


3.230    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $191,449.16
         J&J Rentals LLC                                            0 Contingent
         7807 N. World Drive                                        o Unliquidated
         Hobbs, NM 88242                                            •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? • No 0 Yes


3.231    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $31,421.60
         J-MAW Transport LLC                                        1:7 Contingent
         1203 E. Scharbauer St.                                     o U nliquidated
         Apt A                                                      0 Disputed
         Hobbs, NM 88240
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? • No 0 Yes
         Last 4 digits of account number_

3.232    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $29,201.67
         Jet Specialty Inc.                                         0 Contingent
         3091-20 Frontage Road                                      O Unliquidated
         Big Spring, TX 79720                                       •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?   IIII No 0 Yes

3.233    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $17,727.25
         Jim Unger                                                  0 Contingent
         4237 County Road 40                                        o Unliquidated
         Yuma, CO 80759                                             O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? • No 0 Yes


3.234    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $177,659.95
         Jordan Lynch & Cancienne PLLC                              0 Contingent
         1980 POst Oak Blvd., Suite 200                             o Unliquidated
         Houston, TX 77056                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Attorney Fees
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? • No 0 Yes


3.235    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Jose T. Arrendondo                                         0 Contingent
         1428 Paradise Drive                                        o Unliquidated
         Hobbs, NM 88242                                            O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? • No 0 Yes




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3.236    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,375.00
         K&M Energy Services Inc.                                   El Contingent
         210 Hwy 59                                                 0 Unliquidated
         Douglas, WY 82633                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.237    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,066.00
         Kalaco Equipment Company                                   0 Contingent
         8400 Sprague Road                                          O Unliquidated
         Odessa, TX 79764                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.238    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.              $14.00
         Kansas Turnpike Authority                                  O Contingent
         9401 E. Kellogg                                            o Unliquidated
         Wichita, KS 67207                                          O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.239    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $58,632.26
         KEHM Contractors Inc                                       0 Contingent
         1466 S. 13th Street                                        o Unliquidated
         Omaha, NE 68108                                            O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes


3.240    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,039.00
         Kelley Jasons McGownan Spinelli Hanna                      O Contingent
         3411 Silverside Road                                       o Unliquidated
         Wilmington, DE 19810                                       O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No 0 Yes


3.241    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         Keyhole Technologies LLC                                   0 Contingent
         5700 West Poison Spider Rd.                                o Unliquidated
         Casper, WY 82604                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes


3.242    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $867.41
         Kimball Midwest                                            0 Contingent
         4800 Roberts Road                                          0 Unliquidated
         Columbus, OH 43228                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.243    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $24,577.75
         Kinetic Energy Services                                    o Contingent
         615W. Chapman Road                                         o Unliquidated
         Carlsbad, NM 88220                                         o Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? IN No     0 Yes

3.244    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,043.00
         Kissack Water & Oil Service Inc                            0 Contingent
         231 S. Heptner Road                                        0 Unliquidated
         Rozet, WY 82727                                            O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? El No     0 Yes

3.245    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $53,254.00
         Knighten Machine & Service Inc                             0 Contingent
         3800 E. 42nd Stret, Suite 333                              o Unliquidated
         Odessa, TX 79762                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? III No    0 Yes

3.246    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $787.00
         Koenig Portable Toilets                                    0 Contingent
         1655 370th Street                                          o Unliquidated
         Spencer, IA 51301                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes

3.247    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $918.54
         Kohn Law Firm S.C.                                         0 Contingent
         735 N. Water Street                                        o Unliquidated
         Milwaukee, WI 53202                                        0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?      No   0 Yes

3.248    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $93,234.55
         Komatsu Equipment Company                                  0 Contingent
         dba Komatsu Sou                                            o Unliquidated
         1409 East 3850 South                                       •   Disputed
         Saint George, UT 84790
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number_                           Is the claim subject to offset? 111 No    0 Yes

3.249    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $27,908.65
         Kroskob Brothers Farms                                     0 Contingent
         12462 County Road 25                                       o Unliquidated
         Merino, CO 80741                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? Ill No    0 Yes




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3.250    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $838.83
         Kumar & Associates Inc.                                    El Contingent
         2390 S. Lipan Street                                       o Unliquidated
         Denver, CO 80223                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number
                                                                    Is the claim subject to offset? U No 0 Yes


3.251    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $17,374.58
         KW Fuels LLC                                               O Contingent
         717 W. Sanger Street                                       o Unliquidated
         Hobbs, NM 88240                                            0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.252    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $24,184.50
         Kyle Erwin Construction LLC                                o Contingent
         270 County Road 4668                                       0 Unliquidated
         Rhome, TX 76078                                            El Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                    Is the claim subject to offset? El No 0 Yes


3.253    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $800.75
         Landmark Coatings                                          O Contingent
         933 Danner Road                                            o Unliquidated
         Mocksville, NC 27028                                       O Disputed
         Date(s) debt was incurred _                                Basis for the claim:
         Last 4 digits of account number
                                                                    Is the claim subject to offset? III No 0 Yes


3.254    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $550.00
         Law Office of Kight L Higgins PLLC                         O Contingent
         6300 Ridglea Place                                         o Unliquidated
         Fort Worth, TX 76116                                       0 Disputed
         Date(s) debt was incurred                                  Basis for the claim:
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? El No 0 Yes


3.255    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply           $15,047.50
         Lea County Concrete                                        0 Contingent
         5505 W. Dunnam Street                                      o Unliquidated
         Hobbs, NM 88240                                            0 Disputed
         Date(s) debt was incurred                                  Basis for the claim:
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.256    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check& that apply.           $5,625,000.00
         Lendspark                                                  0 Contingent
         2554 Gateway Road                                          o Unliquidated
         Carlsbad, CA 92009                                         •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim:    Loan
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes




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3.257    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.        $6,631,450.96
         Libertas Funding LLC                                       0 Contingent
         411 W. Putnam Ave., Suite 220                              o Unliquidated
         Greenwich, CT 06830
                                                                    •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim:    Loan
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.258    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.           $3,260.50
         Life Line Technologies                                     ID Contingent
         dba XstremeMD                                              O Unliquidated
         1028 Forum Drive                                           O Disputed
         Broussard, LA 70518
                                                                    Basis for the claim: _
         Date(s) debt was incurred _
                                                                    Is the claim subject to offset? I No 0 Yes
         Last 4 digits of account number _

3.259    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $7,654.66
         Lightning Field Service                                    O Contingent
         11830 N. Saginaw Blvd.                                     o Unliquidated
         Fort Worth, TX 76179                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes


3.260    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $41,449.99
         Lightning Master Corporation                               0 Contingent
         2100 Palmetto St., Suite A                                 o Unliquidated
         Clearwater, FL 33765                                       0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.261    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.               $13.05
         Lindsay Water Sales                                        O Contingent
         107 14th Street N                                          o Unliquidated
         Moorhead, MN 56560                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes


3.262    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.           $49,900.00
         Logistic Dynamics LLC                                      0 Contingent
         155 Pineview Drive                                         o Unliquidated
         Buffalo, NY 14228                                          O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes


3.263    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $1,977.74
         Lone Star Technology Group LLC                             0 Contingent
         6210 Shiloh Road                                           o Unliquidated
         Midlothian, TX 76065                                       0 Disputed
         Date(s) debt was incurred                                  Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,598.75
         Lone Wolf Natural Resource Service Inc.                   0 Contingent
         11263 Canvas Nettie Road                                  o Unliquidated
         Nettie, WV 26681                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes
3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,189.15
         Lonestar Ag                                               0 Contingent
         1690 US-60                                                o Unliquidated
         Friona, TX 79035                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes
3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,778.75
         Lyrthiz LLC                                               0 Contingent
         400 W. Illinois Ave., Suite 800                           o Unliquidated
         Midland, TX 79701                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $373.65
         M&M Disposal                                              0 Contingent
         PO Box 12                                                 0 Unliquidated
         Stanton, TX 79782                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes
3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $79,462.60
         Mac Farms Inc.                                            O Contingent
         2066 Meadow Creek                                         o Unliquidated
         Campbellsville, KY 42718                                  O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 0 No          Yes


3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $17,236.99
         Mallory Safety & Supply LLC                               0 Contingent
         1040 Industrial Way                                       o Unliquidated
         Longview, WA 98632                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes


3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $600.82
         Mark Leachman PC                                          O Contingent
         PO Box 1060                                               o Unliquidated
         Broomfield, CO 80038                                      0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes




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3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,297.99
         Marlatt Farm Freight CO                                   0 Contingent
         4604 US-85                                                0 Unliquidated
         Yoder, WY 82244                                           0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No    0 Yes

3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,396.10
         Marlin Oil Company LLC                                    0 Contingent
         1121 Sioux                                                o Unliquidated
         Gillette, WY 82718                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $76,253.87
         Martin Marietta Materials Inc.                            O Contingent
         4123 Parklake Avenue                                      o Unliquidated
         Raleigh, NC 27612                                         III Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   0 No I
                                                                                                          Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,080.64
         Matheson Tr-Gas Inc.                                      0 Contingent
         909 Lake Carolyn Pkwy                                     0 Unliquidated
         Suite 1300                                                0 Disputed
         Irving, TX 75039
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset?     No    0 Yes

3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,900.00
         MBS Seed Inc.                                             O Contingent
         320 Bell Place                                            o Unliquidated
         Denton, TX 76209                                          0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No       0 Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,264.97
         McBride Supplies It All LLC                               0 Contingent
         4090 NW Mustang Dr.                                       o Unliquidated
         Andrews, TX 79714                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I
                                                                                                   No        0 Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,103.78
         McCarty Equipment Co Ltd.                                 O Contingent
         1103 Industrial Blvd.                                     0 Unliquidated
         Abilene, TX 79602                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I
                                                                                                   No        0 Yes




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3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,900.00
         Meridiam Partners LLC                                     0 Contingent
         1001 W. Arizona Blvd                                      o Unliquidated
         Denver, CO 80223-3000                                     0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? El No     0 Yes
3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,225.00
         Mesa Machine                                              0 Contingent
         8820 NW Loop 338, Suite 4                                 O Unliquidated
         Odessa, TX 79764                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? III No    0 Yes
3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check al/ that apply.          $72,781.25
         Metro Transit Sandblasting WTX LLC                        0 Contingent
         601 County Road 125                                       0 Unliquidated
         Garden City, TX 79739                                     0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $267.78
         MG Oil Company                                            0 Contingent
         1180 Creek Drive                                          0 Unliquidated
         Rapid City, SD 57703                                      0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,034.05
         Midland Central Appraisal District                        O Contingent
         4631 Andrews Hwy                                             Unliquidated
         Midland, TX 79703                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Taxes
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $67.25
         Midland City VEH REG CO                                   0 Contingent
         PO Box 712                                                0 Unliquidated
         Midland, TX 79702                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $216.00
         Midland Lock & Safe                                       0 Contingent
         1408 N. Big Spring Street                                 O Unliquidated
         Midland, TX 79701                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes




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3.285     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,315.00
          Miller Insulation                                         0 Contingent
          82901-20                                                  o Unliquidated
          Midland, TX 79706                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes
3.286     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $47,000.00
          Milton Rents Inc.                                         0 Contingent
          100 Dover Road                                            o Unliquidated
          Chichester, NH 03258                                      0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? III No    0 Yes
3.287     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,797.86
          Minnesota Ag Power                                        0 Contingent
          dba Midwest Machinery                                     o Unliquidated
          4561 Highway 212                                          0 Disputed
          Glencoe, MN 55336
                                                                    Basis for the claim: _
          Date(s) debt was incurred _

          Last 4 digits of account number_                          Is the claim subject to offset?     No    0 Yes

3.288     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,893.48
          Montgomery Asphalt Company LLC                            0 Contingent
          1060 Hobbie Road                                          o Unliquidated
          Montgomery, AL 36105                                      0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes

3.289     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check that apply.               $2,050.00
          Moore Maker Inc.                                          0 Contingent
          303 Houston Avenue                                           Unliquidated
          Matador, TX 79244                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.290     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,665.00
          Morales Fiberglass Services                               0 Contingent
          565 Mason Rd., Suite 216                                  0 Unliquidated
          Katy, TX 77494                                            0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No    0 Yes

3.291     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $20,254.78
          Motive (Keep Trucking Inc)                                0 Contingent
          55 Hawthorne St., Suite 400                               0 Unliquidated
          San Francisco, CA 94105                                   0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? I
                                                                                                    No        0 Yes




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            Name

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,325.69
         Motor Power Casper Inc,                                   0 Contingent
         4455 N. Salt Creek Hwy.                                   O Unliquidated
         Casper, WY 82601                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,683.07
         MRB Enterprise Inc.                                       El Contingent
         7700 Old Branch Ave B204                                  0 Unliquidated
         Clinton, MD 20735                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? In No     0 Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $39,225.00
         MTR Construction & Consulting LLC                         0 Contingent
         1400 N. Hwy 349                                           0 Unliquidated
         Rankin, TX 79778                                          III Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 0 No         Yes

3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,657.72
         Murray Resources Ltd                                      El Contingent
         800 Geesner Rd, Suite 170                                 0 Unliquidated
         Houston, TX 77024                                         III Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No      0 Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $108,222.12
         Mustang Rental Services                                   El Contingent
         12800 Northwest Frwy                                      0 Unliquidated
         Houston, TX 77040                                         •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Equipment Rent
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? II No     0 Yes

3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         National Renewable Energy Corp                            o Contingent
         (Norenco)                                                 o Unliquidated
         801 Wood Ridge Center Dr. Suite A                         O Disputed
         Charlotte, NC 28217
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 1.1 No    0 Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,399.24
         National Tank & Equipment LLC                             El Contingent
         501 Independence Pkwy, Suite A                            0 Unliquidated
         Deer Park, TX 77536                                       0 Disputed
         Date(s) debt was incurred                                 Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? E No      0 Yes




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             Name

 3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $155.00
          NCCER                                                     0 Contingent
          13614 Progress Blvd.                                      o   Unliquidated
          Alachua, FL 32615                                         O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

 3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $51.00
          New Mexico Taxation & Revenue Dept.                       0 Contingent
          10500 Copper Ave., Suite C                                o Unliquidated
          Albuquerque, NM 87123                                     0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? MI No     0 Yes

3.301     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $400.00
          Newco Trucking                                            0 Contingent
          2708 West 7th Street                                      o Unliquidated
          Texarkana, TX 75501                                       O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No    0 Yes

3.302     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $234,249.46
          Niece Equipment                                           0 Contingent
          17401 N IH 35                                             0 Unliquidated
          Buda, TX 78610                                            •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   0 Yes

3.303     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,339.75
          Norco Inc.                                                0 Contingent
          3333 W. Yellowstone Hwy.                                      U nliquidated
          Casper, WY 82602                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   0 Yes

3.304     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $230.00
          North Bill Disposal LLC                                   0 Contingent
          4100 Hwy 59                                               o   U nliquidated
          Douglas, WY 82633                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? IIII No   0 Yes

3.305     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $429.60
          North Dakota One Call                                     o   Contingent
          do One CsIlConcep                                         0 Unliquidated
          PO Box 1015                                               0 Disputed
          Bismarck, ND 58502
                                                                    Basis for the claim: _
          Date(s) debt was incurred _

          Last 4 digits of account number _
                                                                    Is the claim subject to offset?   • No 0 Yes




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3.306    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.            $384.29
         North Texas Extinguisher Service                           O Contingent
         W Brady Street                                             o Unliquidated
         Decatur, TX 76234                                          El Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.307    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $107.95
         North Texas Fire Extinguisher Company                      0 Contingent
         12507 County Road 1114                                     o Unliquidated
         Tyler, TX 75709                                            O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.308    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,154.07
         North Texas Five Star Events LLC                           O Contingent
         2701 Hartlee Field Road                                    o Unliquidated
         Denton, TX 76208                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes


3.309    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $578.00
         Northern Colorado Pest & Wildlife Contro                   O Contingent
         2881 S. 31sst Avenue, Unit 12                              o Unliquidated
         Greeley, CO 80631                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.310    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,172.41
         Northern Survey Consulting LLC                             0 Contingent
         1320W. Erie Street                                         o Unliquidated
         Holbrook, AZ 86025                                         0 Disputed
         Date(s) debt was incurred                                  Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes


3.311    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $112.65
         Northwest Parkway                                          0 Contingent
         3701 Northwest Parkway                                     O Unliquidated
         Broomfield, CO 80023                                       O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I No 0 Yes


3.312    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,310.00
         Nuverra Environmental Solutions                            0 Contingent
         1111 Katy Frwy., Suite 1006                                o Unliquidated
         Houston, TX 77079                                          O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I No 0 Yes




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3.313    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $104,294.98
         NVI LLC                                                    0 Contingent
         2449 West Park Avenue                                      o Unliquidated
         Gray, LA 70359
                                                                    • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? 111 No 0 Yes

3.314    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.           $2,458.85
         CAS Quick Change Inc                                       0 Contingent
         2301 N. Grimes Street                                      o Unliquidated
         Hobbs, NM 88240                                            O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I No 0 Yes

3.315    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.            $818.89
         O'Reilly Automotive Inc.                                   0 Contingent
         526 Front Street                                           O Unliquidated
         Evanston, WY 82930                                         0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I. No 0 Yes

3.316    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.          $21,448.73
         O'Rourke Petroleum                                         O Contingent
         223 McCarty Street                                         o Unliquidated
         Houston, TX 77029                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? El No 0 Yes


3.317    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,096.25
         Office Shop Inc.                                           0 Contingent
         105 E. Washington Ave.                                     o Unliquidated
         Riverton, WY 82501                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes


3.318    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $2,125.00
         Offsite Equipment LLC                                      0 Contingent
         223 McCarty Street                                         o Unliquidated
         Houston, TX 77029                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? I. No 0 Yes


3.319    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.           $1,355.82
         Ohio Child Support Payment Center                          0 Contingent
         PO Box 182380                                              o Unliquidated
         Columbus, OH 43218                                         • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.320    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $6,708.72
         One Stop Auto Plex                                         El Contingent
         1281 W. Richards Street                                    0 Unliquidated
         Douglas, WY 82633                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.321    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $350.00
         Overhead Door Company of Gillette                          O Contingent
         3208 US-14#16                                              O Unliquidated
         Gillette, WY 82716                                         O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.322    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $5,093.18
         Oxygen Service Company                                     0 Contingent
         1111 Pierce Butler Rte                                     o Unliquidated
         Saint Paul, MN 55104                                       0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes

3.323    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $13,642.09
         Pacific Steel & Recycling                                  0 Contingent
         5 River Drive South                                        o U nliquidated
         Great Falls, MT 59405                                      0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No 0 Yes


3.324    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $717,882.53
         Palmetto Services LLC                                      0 Contingent
         185 Aiken Road                                             o Unliquidated
         Wagener, SC 29164                                          • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 0 No          Yes


3.325    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $10,697.80
         Parking Systems of America (1563)                          O Contingent
         4220 Gurley Avenue                                         o Unliquidated
         Dallas, TX 75223                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No 0 Yes


3.326    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,153.00
         Parking Systems of America (1622)                          0 Contingent
         4220 Gurley Avenue                                         O U nliquidated
         Dallas, TX 75223                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No 0 Yes




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3.327    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $79,339.50
         Parking Systems of America (1694)                          O Contingent
         4220 Gurley Avenue                                         o Unliquidated
         Dallas, TX 75223                                           III Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? IN No 0 Yes

3.328    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.            $240.00
         Parkingh Systems of America (1506)                         0 Contingent
         4220 Gurley Avenue                                         o Unliquidated
         Dallas, TX 75223                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?      No 0 Yes

3.329    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,716.28
         PB Materials - Odessa                                      0 Contingent
         4044 Penbrook Street                                       O Unliquidated
         Odessa, TX 79762                                           O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes

3.330    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check& that apply.              $7,716.28
         Permian Basin Materials LLC                                O Contingent
         4044 Penbrook St, Suite 100                                o Unliquidated
         Odessa, TX 79762                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No 0 Yes


3.331    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $8,014.74
         Permian Coating Supply LLC                                 0 Contingent
         1902 South Midland Drive                                       U n liquidated
         Midland, TX 79703                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes


3.332    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,722.00
         Permian Sign Co. Inc.                                      O Contingent
         411 S. County Road 1276                                    o U nliquidated
         Midland, TX 79706                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? II No 0 Yes


3.333    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $140,502.00
         Permian Tank & Manufacturing Inc                           0 Contingent
         1054 Co. Rd. 237                                           o U nliquidated
         Giddings, TX 78942                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.334    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $62,892.32
         Petro Fencing Inc                                          0 Contingent
         1413 Pacific Avenue                                        O Unliquidated
         Midland, TX 79705                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.335    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $26,923.94
         Petro Guardian LLC                                         0 Contingent
         12216 West County Rd                                       0 Unliquidated
         Suite 100                                                  0 Disputed
         Odessa, TX 79765
                                                                    Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number _                          Is the claim subject to offset?     No    0 Yes

3.336    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,245.00
         Petrochemical                                              0 Contingent
         620 N Grant Avenue                                         o Unliquidated
         Odessa, TX 79761                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No    0 Yes

3.337    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $881.50
         Pipeline Land Services Inc.                                0 Contingent
         4708 K Mart Drive                                          o Unliquidated
         Wichita Falls, TX 76308                                    0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No    0 Yes

3.338    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $22,913.09
         Pipeline Supply & Service LLC (PSS)                        0 Contingent
         2656 S Loop W#600                                          0 Unliquidated
         Houston, TX 77054                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   0 Yes

3.339    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,505.48
         Powder Coating Solutions                                   0 Contingent
         910 W. Pierce Street                                       o Unliquidated
         Carlsbad, NM 88220                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? III No    0 Yes

3.340    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $412.00
         Powder River WorkSafe Testing LLC                          O Contingent
         E 4th Street, Suite 20                                     o Unliquidated
         Gillette, WY 82716                                         O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   0 Yes




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3.341    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $54,796.22
         Power Screening                                            0 Contingent
         25 Brighton Road                                           0 Unliquidated
         Henderson, CO 80640                                        0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No   0 Yes

3.342    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $21,692.95
         Premier Equipment Corp. Inc.                               0 Contingent
         PO Box 15203                                               o Unliquidated
         Baton Rouge, LA 70895                                      •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? • No      0 Yes

3.343    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,851.20
         Premium Oilfield Technologies LLC                          0 Contingent
         10600W Sam Houston Pkwy N                                  o Unliquidated
         Houston, TX 77064                                          0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   IN No 0 Yes

3.344    Nonpriority creditors name and mailing address             As of the petition filing date, the claim is: Check all that apply.           $8,250.00
         Pressure Services                                          O Contingent
         2361 S. Plaza Drive #1                                     0 Unliquidated
         Rapid City, SD 57702                                       0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?   III No 0 Yes

3.345    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,000.00
         Priority Property Management                               0 Contingent
         287 E. Fountain Blvd., Unit 300                            0 Unliquidated
         Colorado Springs, CO 80903                                 0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   El Yes

3.346    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $6,387.54
         Pro-Kote Engineering & Supply                              0 Contingent
         590 Circle Drive                                           0 Unliquidated
         Casper, WY 82601                                           O Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?      No   0 Yes

3.347    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $49,780.82
         Professional Rig Services Inc                              0 Contingent
         805 W. Main Street, Suite C                                    Unliquidated
         Tremonton, UT 84337                                        O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? •No       0 Yes




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3.348    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.        $1,038,144.15
         ProsRent                                                   0 Contingent
         3001 Dallas Pkwy                                           O Unliquidated
         Frisco, TX 75034                                           •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Equipment Rent
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 0 No         Yes


3.349    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check that apply.               $2,296.30
         ProTex Erosion Control LLC                                 O Contingent
         PO Box 15082                                               0 Unliquidated
         Fort Worth, TX 76119                                       O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes


3.350    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $9,368.43
         Purity Oilfield Services LLC                               O Contingent
         183 Bear Cat Road                                          o Unliquidated
         Aledo, TX 76028                                            0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.351    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $70,018.87
         Quallity Transport Inc                                     0 Contingent
         1200 East Mills Street                                     o Unliquidated
         El Paso, TX 79901                                          O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? III No 0 Yes


3.352    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $23,182.35
         Quick Supply Co.                                           0 Contingent
         6620 NW Toni Drive                                         o Unliquidated
         Des Moines, IA 50313                                       O Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? I No 0 Yes


3.353    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.             $681.98
         Quorum                                                     O Contingent
         9615W. County Road 152                                     o Unliquidated
         Midland, TX 79706                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim:
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes


3.354    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $36,177.85
         R&M Trucking & Backhoe Service LLC                         0 Contingent
         1311 14th Street                                           o Unliquidated
         Hobbs, NM 88240                                            •   Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $119,259.90
         R&N Trenching Inc.                                        O Contingent
         7416 E US Hwy 67                                          o Unliquidated
         Mertzon, TX 76941
                                                                   •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,228.48
         R&R Rest Stops of Casper                                  O Contingent
         1835 Skyview Drive                                        O Unliquidated
         Casper, WY 82601                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? 111 No 0 Yes


3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $466.00
         Rapid Fire Protection                                     0 Contingent
         1530 Samco Road                                           o Unliquidated
         Rapid City, SD 57702                                      O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? E No 0 Yes


3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $393.75
         Razor City Rental                                         O Contingent
         305 S. Miller Avenue                                      o Unliquidated
         Gillette, WY 82716                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes


3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,680.00
         Razor's Edge Directional Drilling LLC                     o Contingent
         6854 Deerewood Lane                                       o Unliquidated
         Bismarck, ND 58503                                        •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes


3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $21,802.29
         RDO Construction Equipment Co.                            0 Contingent
         901 E. Hwy 12                                             o Unliquidated
         Webster, SD 57274                                         0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No 0 Yes


3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,079.64
         Ready Refresh By Nestle                                   0 Contingent
         4718 Mountain Creek Pkwy                                  0 Unliquidated
         Dallas, TX 75236                                          0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? •No 0 Yes




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3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,562.34
         Reinforcing Steel Supply                                  0 Contingent
         500 S. John Ben Sheppard Pkwy                                 Unliquidated
         Odessa, TX 79762                                          El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes


3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $31,850.00
         Reliable Industrial Group                                 0 Contingent
         8801 Industrial Driveq                                    O Unliquidated
         Pearland, TX 77584                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $139.51
         Republic Services                                         0 Contingent
         18500 N Allied Way                                        0 Unliquidated
         Phoenix, AZ 85054                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    D Yes

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $194,095.04
         Reusable Organic Energy                                   O Contingent
         6726 FM 1096                                              o Unliquidated
         Boling, TX 77420                                          •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,186.75
         Rice Farmers Coop Inc.                                    El Contingent
         106 Market Street                                         o Unliquidated
         El Campo, TX 77437                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,180.97
         Riverhawk Industrial Supply                               O Contingent
         465 Fife Road                                             o Unliquidated
         Mulberry, FL 33860                                        O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $101,311.54
         Riveron RTS LLC                                           0 Contingent
         401 S. Old Woodward, Suite 340                            o Unliquidated
         Birmingham, MI 48009                                      •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Professional Service
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I. No 0 Yes




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3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,650.00
         Road Runner Crane LLC                                     0 Contingent
         5054 Western Avenue                                       o Unliquidated
         Woodward, OK 73801                                        El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes

3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check al/ that apply.          $69,875.42
         Robert Half International                                 O Contingent
         1751 River Run, Suite 305                                 o Unliquidated
         Fort Worth, TX 76107                                      O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? III No 0 Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,000.00
         Robert Mueller                                            O Contingent
         6337 Nightingale Drive                                    o Unliquidated
         Hobbs, NM 88240                                           O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? 111 No 0 Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,040.30
         Roberts Truck Center                                      0 Contingent
         101011-20                                                 o Unliquidated
         Midland, TX 79706                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?      No 0 Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,549.88
         Rocky Mountain Power                                      O Contingent
         2840 E. Yellowstone Hwy                                   o Unliquidated
         Casper, WY 82609                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes


3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,937.25
         Rocky Mountain Resources Inc                              0 Contingent
         PO Box 5101                                               0 Unliquidated
         Englewood, CO 80155                                       0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes


3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $40,518.48
         Rosenwood Rose & Litwak PLLC                              0 Contingent
         1712 Euclid Avenue                                        o Unliquidated
         Charlotte, NC 28203                                       O Disputed
         Date(s) debt was incurred _                               Basis for the claim: Attorney Fees
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes




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3.376    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $28,040.16
         Rossco Crane & Rigging Inc                                 0 Contingent
         SE 74th Street Southeast                                      Unliquidated
         Minot, ND 58701                                            0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? M No      0 Yes

3.377    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $12,468.81
         Royer Commercial Interiors                                 O Contingent
         3100 West 7th Street, Suite 200                            o Unliquidated
         Fort Worth, TX 76107                                       0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? E No      0 Yes

3.378    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,080.41
         Rush Truck Center                                          O Contingent
         326 North Access Road 1-20                                 0 Unliquidated
         Tye, TX 79563                                              0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No    0 Yes

3.379    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $174,380.00
         Sacramento Drilling Inc                                    0 Contingent
         1143 Blumenfeld Drive, Suite 100                               Unliquidated
         Sacramento, CA 95815                                       0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset?   • No 0 Yes

3.380    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,162.50
         Safety Solutions LLC                                       O Contingent
         7116 WI-20                                                 O Unliquidated
         Midland, TX 79705                                          0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   1111 No 0 Yes

3.381    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $4,332.60
         Salina Steel Supply                                        0 Contingent
         234 E Ave A                                                o Unliquidated
         Salina, KS 67401                                           0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes

3.382    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $2,358.30
         Samba Saftey                                               0 Contingent
         5619 DTC Pkwy, Suite 1000                                  0 Unliquidated
         Englewood, CO 80111                                        0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes




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3.383    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.         $259,786.72
         Sanderfoot Wind & Excavating Inc                           0 Contingent
         2424 Progress Court                                        O Unliquidated
         Neenah, WI 54956
                                                                    • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? 111 No 0 Yes

3.384    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $8,535.00
         Selzer Gurvitch Rabin Wertheimer Poloft                    0 Contingent
         4416 East-West Hwy                                         o Unliquidated
         Bethesda, MD 20814                                         0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Attorney Fees
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? MI No 0 Yes

3.385    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $6,899.30
         Sentry Crane Services                                      O Contingent
         1505 21st Avenue NW                                        O Unliquidated
         Watford City, ND 58854                                     0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? II No 0 Yes

3.386    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,000.00
         Sexton Creative                                            0 Contingent
         10066 Fox Chase Drive                                      o Unliquidated
         Loveland, OH 45140                                         0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? •No 0 Yes

3.387    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,621.50
         Sherrard Roe Voight Harbison PLC                           0 Contingent
         1600 West End Ave., Suite 1750                             o Unliquidated
         Nashville, TN 37203                                        0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Attorney Fees
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?       No 0 Yes


3.388    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $3,753.86
         Sherwin Williams 79761                                     0 Contingent
         510 S. Meadow Ave                                          o Unliquidated
         Odessa, TX 79761                                           • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?       No 0 Yes


3.389    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $13,633.21
         Sherwin Williams 82601                                     O Contingent
         2590 Revenue Blvd. #1                                      o Unliquidated
         Casper, WY 82601                                           • Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?   •   No 0 Yes




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3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,800.00
         Sideline Testing LLC                                      0 Contingent
         601 S. San Patricio St.                                   o Unliquidated
         Sinton, TX 78387                                          El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes
3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $126.66
         Sierra Springs                                            O Contingent
         5545 Sierra Springs Lane                                  o Unliquidated
         Fort Worth, TX 76123                                      O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes

3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $20,458.00
         SKG Engineering LLC                                       0 Contingent
         706 S. Abe Street                                         O Unliquidated
         San Angelo, TX 76903                                      O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,350.00
         Sojourner Trucking                                        O Contingent
         26113 MS-27                                               o Unliquidated
         Crystal Springs, MS 39059                                 0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I
                                                                                                   No 0 Yes


3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,183.03
         Somers & Watson Machinery LLC                             El Contingent
         4706 W. Wall Street                                       o Unliquidated
         Midland, TX 79703                                         1111 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? INo 0 Yes


3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         Sone Energy Services LLC                                  O Contingent
         1406 Rice Road                                            o Unliquidated
         Tyler, TX 75703                                           O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?   • No 0 Yes
3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $725,930.75
         Southern Land & Fence LLC                                 0 Contingent
         2635 Youngs Road                                          O Unliquidated
         Leesburg, FL                                              • Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?   • No 0 Yes




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3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,378.00
         Southern Tire Mart LLC                                    O Contingent
         12618 WI-20 E                                             o Unliquidated
         Odessa, TX 79765                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,458.57
         Southwest Oilfield Rentals LLC                            O Contingent
         706 E. Michigan, Suite 406                                o Unliquidated
         Hobbs, NM 88240                                           O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? U No 0 Yes


3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $737.50
         Spartan Consulting & Safety LLC                           0 Contingent
         1702S. County Road 1310                                   0 Unliquidated
         Odessa, TX 79765                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I. No 0 Yes


3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $9,487,549.00
         Spin Capital                                              0 Contingent
         1909 Tyler Street, Suite 504                              o Unliquidated
         Hollywood, FL 33020                                       •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim:    Loan
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         Spireon                                                   0 Contingent
         1888 Von Karman Ave., Suite 1500                          o Unliquidated
         Irvine, CA 92612                                          El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes


3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $192.00
         Stash Storage Near Me                                     0 Contingent
         4170 Tower Road                                           o Unliquidated
         Denver, CO 80249                                          O Disputed
         Date(s) debt was incurred _                               Basis for the claim:
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $58,000.00
         State of North Dakota Workforce                           O Contingent
         1600 E. Century Ave., Suite 1                             o Unliquidated
         Bismarck, ND 58503                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No 0 Yes




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3.404    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,050.00
         Steam Consulting                                           0 Contingent
         N St. Andrews Place                                        o Unliquidated
         Los Angeles, CA 90004                                      0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.405    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $7,838.75
         Sterling Crane LLC                                         0 Contingent
         9351 Grant St., Suite 250                                  o Unliquidated
         Denver, CO 80229                                           0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? M No      0 Yes

3.406    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.            $312.50
         Stodghill & Allie LLP                                      0 Contingent
         2002 Hoskins Drive                                         o Unliquidated
         Houston, TX 77080                                          O Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.407    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $51,596.35
         Stone Oilfield Services                                    0 Contingent
         725 Tatum Hwy                                              O Unliquidated
         Lovington, NM 88260                                        0 Disputed
         Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.408    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $6,363.06
         Stotz Equipment                                            O Contingent
         14750 S. Pony Express Rd.                                  0 Unliquidated
         Riverton, UT 84065                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number _
                                                                    Is the claim subject to offset? El No     0 Yes

3.409    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $5,610.71
         Sundahl Powers Kapp & Martin LLC                           0 Contingent
         2020 Carey Ave., Suite 301                                 o Unliquidated
         Cheyenne, WY 82001                                         0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1. No     0 Yes

3.410    Nonpriority creditor's name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $11,190.00
         Sunshine Supplies Inc.                                     0 Contingent
         1409 Republic Road                                         0 Unliquidated
         Birmingham, AL 35214                                       0 Disputed
         Date(s) debt was incurred _                                Basis for the claim: _
         Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes




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 3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,049.00
          Suttles Logging Inc                                       O Contingent
          1805 Alta Vista Drive                                     o Unliquidated
          Midland, TX 79706                                         O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes

 3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,095.00
          Swan Lake Farms LLC                                       0 Contingent
          12020 E. Interstate 20                                    o Unliquidated
          Odessa, TX 79765                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

 3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $37,138.77
          T.Disney Trucking & Grading Inc.                          0 Contingent
          6324 US-301                                               o Unliquidated
          Riverview, FL 33578
                                                                    • Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

 3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $41,541.24
          T.O.F.S. LLC                                              O Contingent
          5802 E. Hwy 62                                            o Unliquidated
          Lubbock, TX 79403
                                                                    • Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes

 3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $836.61
          T3VoiceNet LLC                                            0 Contingent
          601 N. Marienfield St.                                    o Unliquidated
          Suite 104                                                 O Disputed
          Midland, TX 79701
                                                                    Basis for the claim: _
          Date(s) debt was incurred _

          Last 4 digits of account number_                          Is the claim subject to offset? El No 0 Yes


 3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $21,118.83
          Tailwind Loenbro Holdings LLC                             0 Contingent
          1900 32nd Avenue NE                                       o Unliquidated
          Black Eagle, MT 59414                                     • Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? El No 0 Yes

3.417     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,775.22
          Tascosa Office Machines                                   0 Contingent
          223 W. Broadway St.                                       o Unliquidated
          Hobbs, NM 88240                                           0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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3.418     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,691.66
          TCH Construction LLC                                      0 Contingent
          PO Box 632939                                             o   Unliquidated
          Nacogdoches, TX 75963                                     0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes


3.41      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,815.72
          TD Rentals                                                0 Contingent
          1731 Oil Mill Road                                        0 Unliquidated
          Pecos, TX 79772                                           0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No El Yes


3.420     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,350.00
          Team Industrial Services Inc                              0 Contingent
          200 Hermann Drive                                         O Unliquidated
          Alvin, TX 77511                                           0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?   II No 0 Yes

3.421     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,714.75
          TechCorr USA Management LLC                               0 Contingent
          1485 E. Sam Houston Pkwy S                                o Unliquidated
          Pasadena, TX 77503                                        0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim:
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No D Yes


3.422     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,781.28
          Techline Inc                                              0 Contingent
          9609 Beck Circle                                          o Unliquidated
          Austin, TX 78758                                          O Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? III No 0 Yes


3.423     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,796.00
          Terracon Consultants Inc                                  O Contingent
          10841 S. Ridgeview Road                                   o Unliquidated
          Olathe, KS 66061                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.424     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
          Teton Steel                                               0 Contingent
          2380 E. 24th N                                            o Unliquidated
          Idaho Falls, ID 83401                                     O Disputed
          Date(s) debt was incurred                                 Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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 3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $675.78
          Texas Commercial Fire & Safety LLC                        0 Contingent
          245 Calhoun Plaza                                         o Unliquidated
          Port Lavaca, TX 77979                                     O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes


 3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,788.42
          Texas Security Solutions                                  0 Contingent
          2300 Cedar Branch Drive                                   o Unliquidated
          Austin, TX 78727                                          O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes


3.427     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,141.76
          The Residence at Midland                                  O Contingent
          5801 Deauville Blvd.                                      o Unliquidated
          Midland, TX 79706                                         O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Lodging Expense
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.428     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,739.07
          The Water Factory Co.                                     O Contingent
          601 S. Walker St.                                         o Unliquidated
          Alpine, TX 79830                                          O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No 0 Yes


3.429     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,964.00
          The Wireline Group Inc                                    0 Contingent
          PO Box 60018                                              o Unliquidated
          Midland, TX 79711                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1.No 0 Yes


3.430     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,902.95
          Thomas Oilfield Services LLC                              0 Contingent
          4250 SE Loop 281                                          o Unliquidated
          Longview, TX 75602                                        O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes


3.431     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $170,268.01
          Thompson Tractor                                          O Contingent
          3550 Joe Mallisham Pkwy                                   o Unliquidated
          Tuscaloosa, AL 35401                                      •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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 3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,000.00
          Thor's Hammer                                             El Contingent
          1212 N. Yarbrough Drive                                   o Unliquidated
          El Paso, TX 79925                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? II No 0 Yes


3.433     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $96,000.00
          Thrasher Inc                                              0 Contingent
          1209 E 24th Street                                        El Unliquidated
          Plainview, TX 79072                                       0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?   INo 0 Yes

3.434     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,245.89
          Thunder Basin Ford                                        O Contingent
          1100W 2nd Street                                          o   Unliquidated
          Gillette, WY 82716
                                                                    •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No 0 Yes


3.435     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,923.00
          Tiger Supplies                                            0 Contingent
          2720 Discovery Drive                                      0 Unliquidated
          Raleigh, NC 27616                                         O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? I
                                                                                                    No 0 Yes


3.436     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,771.35
          TMD                                                       0 Contingent
          16715 Longenbaugh Dr.                                     o Unliquidated
          Houston, TX 77095                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? El No 0 Yes


3.437     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,390.00
          Torqmaster LLC                                            0 Contingent
          5712 E. County Road 64                                    o Unliquidated
          Midland, TX 79705                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes


3.438     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $92,660.00
          Totem Forest Products International                       0 Contingent
          419 SW 11th Ave., Suite 300                               0 Unliquidated
          Portland, OR 97205                                        ▪ Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?   INo 0 Yes




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3.439    Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $11,952.05
         Trash Trailers For Rent LLC                               O Contingent
         PO Box 12075                                              o Unliquidated
         Odessa, TX 79768                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 1. No 0 Yes


3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         Travelers CL Remittance Center                            El Contingent
         PO Box 660317                                             o Unliquidated
         Dallas, TX 75266-0137                                     El Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I. No 0 Yes


3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,335.28
         Trench Plate Rental Co.
         dba National Trench Safety LLC                            lj Contingent
         260 N. Sam Houston Pkwy East                              O Unliquidated
         Suite 200                                                 El Disputed
         Houston, TX 77060
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset? U No 0 Yes


3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,980.00
         Trinity Energy Services LLC                               0 Contingent
         118 Vintage Park Blvd.                                    0 Unliquidated
         Suite W718                                                0 Disputed
         Houston, TX 77070
                                                                   Basis for the claim: _
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset? 111 No 0 Yes


3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $47,954.39
         Triple T's Linings LLC                                    O Contingent
         2493 Pecos Hwy                                            o Unliquidated
         Carlsbad, NM 88220                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes


3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $24,465,404.00
         Trisura Insurance Company                                 0 Contingent
         1411 Opus Place, Suite 450                                o Unliquidated
         Downers Grove, IL 60515                                   •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Performance Bond Premium
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $921.50
         Triton Environmental LLC                                  O Contingent
         5433 Newport Street                                       o Unliquidated
         Commerce City, CO 80022                                   O Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I/ No 0 Yes




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 3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $33,600.00
          Trophy Logistics LLC                                      0 Contingent
          3123 Silver Falls                                         o unliquidated
          Kingwood, TX 77339
                                                                    •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.447     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $269,281.36
          Truck Utilities Inc                                       0 Contingent
          2370 English Street                                       0 Unliquidated
          Saint Paul, MN 55109
                                                                    •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes


3.448     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,443.00
          Turner Seed Co.                                           0 Contingent
          211 County Road 151                                       0 unliquidated
          Breckenridge, TX 76424                                    0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.449     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,438.42
          Two Bit Rentals                                           0 Contingent
          5226 134th Avenue NW                                      0 unliquidated
          Williston, ND 58801                                       0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 111 No    0 Yes

3.450     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,055.75
          Two Cams Ice                                              0 Contingent
          2242 Poplar Ten Road                                      o Unliquidated
          Concord, NC 28027                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? M No      0 Yes

3.451     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,090.15
          TX Child Support                                          0 Contingent
          PO Box 12548                                                  Unliquidated
          Austin, TX 78711                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? •No       0 Yes

3.452     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,853.11
          UEC LLC                                                   0 Contingent
          9461 Willow Ct                                                Unliquidated
          Henderson, CO 80640                                       0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No       0 Yes




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 3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
          UniFirst Holdings Inc                                     0 Contingent
          701 Brazos, Suite 1050                                    o Unliquidated
          Austin, TX 78701                                          O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? II No 0 Yes

3.454     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $282,274.32
          United Rentals (North America) Inc                        0 Contingent
          2301 Texas Avenue S                                       o Unliquidated
          College Station, TX 77840
                                                                    •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Equipment Rent
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? 1111 No 0 Yes

 3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $400.75
          URS Agents LLC                                            El Contingent
          3675 Crestwood Pkwy NW                                    o Unliquidated
          Suite 350                                                 O Disputed
          Duluth, GA 30096
                                                                    Basis for the claim: _
          Date(s) debt was incurred _

          Last 4 digits of account number_                          Is the claim subject to offset? Ill No 0 Yes


3.456     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $122.00
          USPS PO Box                                               o Contingent
          Southern Area Managing Counsel                            o Unliquidated
          PO Box 227078                                             0 Disputed
          Dallas, TX 75222
                                                                    Basis for the claim: _
          Date(s) debt was incurred _

          Last 4 digits of account number _                         Is the claim subject to offset? Ill No 0 Yes


3.457     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $535.50
          Uwharrie Bottled Water Services                           O Contingent
          930 Old Charlotte Road                                    o Unliquidated
          Albemarle, NC 28001                                       0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?     No 0 Yes

3.458     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $152,751.05
          Vaco                                                      0 Contingent
          2500 Dallas Pkwy, Suite 496                               O Unliquidated
          Plano, TX 75093                                           •   Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset? U No 0 Yes

3.459     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $135.00
          Valley Day & Night Clinic                                 0 Contingent
          3302 Boca Chica Blvd.                                     o Unliquidated
          Brownsville, TX 78521                                     0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? Ill No 0 Yes




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             Case 24-42003-mxm7                    Doc 10 Filed 06/20/24 Entered 06/20/24 12:37:24                                             Desc Main
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    Debtor      Big Horn Construction & Reclamation LLC                                         Case number (if known)            24-42003-7
                Name

I 3.460      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $54,952.50
I
             VanZandt Controls LLC                                     O Contingent
             13409W County Road 132                                    o Unliquidated
             Odessa, TX 79765                                          0 Disputed
             Date(s) debt was incurred _
                                                                       Basis for the claim: Trade debt
             Last 4 digits of account number_
                                                                       Is the claim subject to offset? U No 0 Yes

    3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,231.00
             Veriforce LLC                                             0 Contingent
             1575 Sawdust Rd., Suite 600                               o Unliquidated
             Spring, TX 77380                                          0 Disputed
             Date(s) debt was incurred _
                                                                       Basis for the claim: _
             Last 4 digits of account number_
                                                                       Is the claim subject to offset? E No El Yes

    3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $23,498.02
             Verizon Wireless                                          o Contingent
              Verizon Way                                              o Unliquidated
             Basking Ridge, NJ 07920                                   0 Disputed
             Date(s) debt was incurred _
                                                                       Basis for the claim: _
             Last 4 digits of account number_
                                                                       Is the claim subject to offset? IE No 0 Yes

    3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $53,189.10
             Vesta Housing Solutions                                   O Contingent
             1000 Town Ctr., Suite 975                                 o Unliquidated
             Southfield, MI 48075                                      0 Disputed
             Date(s) debt was incurred _
                                                                       Basis for the claim: Trade debt
             Last 4 digits of account number_
                                                                       Is the claim subject to offset? U No 0 Yes

    3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $29,033.88
             Viking Forest Products                                    O Contingent
             7480 Flying Cloud Drive                                   o Unliquidated
             Suite 400                                                 0 Disputed
             Eden Prairie, MN 55344
                                                                       Basis for the claim: Trade debt
             Date(s) debt was incurred _

             Last 4 digits of account number_                          Is the claim subject to offset? 110 No 0 Yes


    3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $221,687.50
             Villegas Stone Masonry                                    0 Contingent
             9523 Circle S Drive                                       o Unliquidated
             Helotes, TX 78023                                         111 Disputed
             Date(s) debt was incurred _
                                                                       Basis for the claim: Trade debt
             Last 4 digits of account number_
                                                                       Is the claim subject to offset? 0 No         Yes


    3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,656,573.54
             Vista Bank                                                E Contingent
             1400 Summit Ave., Suite 100                                  Unliquidated
             Fort Worth, TX 76102                                      0 Disputed
             Date(s) debt was incurred _
                                                                       Basis for the claim:    Loan
             Last 4 digits of account number_
                                                                       Is the claim subject to offset? E No 0 Yes




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3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $891.78
         Vistaprint Corporate Solutions                            O Contingent
         275 Wyman St., Suite 100                                  o Unliquidated
         Waltham, MA 02451                                         O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I
                                                                                                   No 0 Yes


3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,597.82
         Visual Edge Inc                                           O Contingent
         530 6th Street                                            o Unliquidated
         Sioux City, IA 51101                                      O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? I
                                                                                                   No 0 Yes


3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $225,262.44
         Vulcan Materials                                          0 Contingent
         1200 Urban Center Drive                                   o Unliquidated
         Birmingham, AL 35242                                      •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 0 No         Yes


3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,496.18
         W. Joe Shaw Ltd                                           O Contingent
         4200 Underwood Road                                       o Unliquidated
         La Porte, TX 77571                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? I
                                                                                                   No 0 Yes


3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $53,340.00
         Wagner Falconer & Judd                                    0 Contingent
         100 S. 5th St, Suite 800                                  O Unliquidated
         Minneapolis, MN 55402                                     0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes


3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,920.42
         Wagner-Smith Equipment Co.                                0 Contingent
         550 Hwy 155 S                                             o Unliquidated
         McDonough, GA 30253                                       •   Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I
                                                                                                   No 0 Yes


3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,755.96
         Warehouse Supply Inc                                      O Contingent
         300 N. 2nd Street                                             Unliquidated
         La Salle, CO 80645                                        0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? I
                                                                                                   No 0 Yes




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 Debtor      Big Horn Construction & Reclamation LLC                                         Case number Or known)             24-42003-7
             Name

 3.474    Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $8,762.55
          West Company of Midland LLC                               0 Contingent
          110W. Louisiana Ave., Suite 110                           0 Unliquidated
          Midland, TX 79701                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes
 3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check that apply.              $34,881.41
          West Texas Dumpsters                                      0 Contingent
          4805W County Road 120                                     o Unliquidated
          Midland, TX 79706                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number _
                                                                    Is the claim subject to offset?   • No 0 Yes
 3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $54,347.43
          WEX Acct 0451-00-925777-S                                 0 Contingent
          1 Hancock Street                                          0 Unliquidated
          Portland, ME 04101                                        0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes

3.477     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $36,379.42
          WEX Acct 0496-00-878686-S                                 0 Contingent
          1 Hancock Street                                          o Unliquidated
          Portland, ME 04101                                        0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?   • No 0 Yes

3.478     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,571.70
          Whitco Supply LLC                                         0 Contingent
          4320 Johnson Road B                                       0 Unliquidated
          Odessa, TX 77964                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No      0 Yes

3.479     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $45,470.80
          White Star Equipment LLC                                  0 Contingent
          PO Box1242                                                O Unliquidated
          Sherman, TX 75091                                         0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Equipment Rent
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes

3.480     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,500.00
          White's Welding LLC                                       0 Contingent
          46005 S County Road 202                                   o Unliquidated
          Woodward, OK 73801                                        0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No    0 Yes




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             Name

3.481     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.           $1,839.11
          Whites Frontier Motors                                    O Contingent
          444 Skyline Drive                                         o Unliquidated
          Gillette, WY 82718                                        O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.482     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,604.30
          Wholesale Electric Supply Co.                             O Contingent
          1122W Cotton Steet                                        o Unliquidated
          Longview, TX 75640                                        O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.483     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,243.42
          Wick Phillips Gould & Martin LLP                          O Contingent
          3131 McKinney Ave., Suite 500                             O Unliquidated
          Dallas, TX 75204                                          0 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Attorney Fees
          Last 4 digits of account number
                                                                    Is the claim subject to offset? In No 0 Yes

3.484     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $75,240.00
          Wilbanks Trucking Services LLC                            0 Contingent
          11246 Lovington Hwy                                       o Unliquidated
          Artesia, NM 88210                                         • Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset?     No 0 Yes

3.485     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $147,920.00
          Wild West Trucking LLC                                    0 Contingent
          903 N Hickory Stq                                         O Unliquidated
          Pecos, TX 79772                                           1111 Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? I No 0 Yes

3.486     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,343.38
          Wildcat Pump & Supply Inc                                 0 Contingent
          115 2nd Street                                            o Unliquidated
          Claflin, KS 67525                                         O Disputed
          Date(s) debt was incurred _
                                                                    Basis for the claim: _
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? •No 0 Yes


3.487     Nonpriority creditors name and mailing address            As of the petition filing date, the claim is: Check all that apply.          $22,199.06
          Willard Agri-Service of Greenwood LLC                     0 Contingent
          22272 S. Dupont Hwy                                       o Unliquidated
          Greenwood, DE 19950                                       0 Disputed
          Date(s) debt was incurred _                               Basis for the claim: Trade debt
          Last 4 digits of account number_
                                                                    Is the claim subject to offset? U No 0 Yes




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            Name

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,967.00
         William Uffelman                                          O Contingent
         HC 36 Box 2280                                            o Unliquidated
         Hardin, MT 59034                                          O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,447.54
         Williams Scotsman Inc                                     0 Contingent
         4646 E an Buren St., Suite 400                            0 Unliquidated
         Phoenix, AZ 85008                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $404.21
         Williston Fire & Safety LLC                               O Contingent
         3420 2nd Avenue W                                         o Unliquidated
         Williston, ND 58801                                       0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,201.51
         Windmill Spraying Service                                 0 Contingent
         602 W. Chance Drive                                       o Unliquidated
         Hobbs, NM 88242                                           O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No 0 Yes

3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $646.14
         Wyoming Child Support Enforcement                         0 Contingent
         2015 Carey Ave., Suite 601                                o Unliquidated
         Cheyenne, WY 82001                                        O Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number _
                                                                   Is the claim subject to offset? U No 0 Yes

3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $545.90
         Wyoming First Aid & Safety Supply LLC                     0 Contingent
         589 Yellowstone Road                                      o Unliquidated
         Rock Springs, WY 82901                                    0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No 0 Yes


3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,713.45
         Wyoming Machinery Company                                 O Contingent
         5300 West Old Yellowstone Hwy                             o Unliquidated
         Casper, WY 82604                                          0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? El No 0 Yes




                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 71 of 73
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            Name
3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $41,729.82
         Wyoming Rents                                             0 Contingent
         5185W Yellowsstone Hwy                                    o Unliquidated
         Casper, WY 82604                                          0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: Equipment Rent
         Last 4 digits of account number _
                                                                   Is the claim subject to offset?     No    0 Yes

3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $208.00
         Wyoming Water Solutions                                   0 Contingent
         605 E 7th Street                                          O Unliquidated
         Gillette, WY 82716                                        0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,095.00
         Wyrick Construction                                       O Contingent
         49 Shell Oil Road                                         o Unliquidated
         Baker, MT 59313                                           0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset?     No    0 Yes

3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,370.00
         Xcel NDT LLC                                              0 Contingent
         104 Avon Street                                              Unliquidated
         Clifton, KS 66937                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? 1111 No   0 Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,577.38
         Xerox Financial Services                                  0 Contingent
         45 Glover Ave.                                            0 Unliquidated
         Norwalk, CT 06850                                         0 Disputed
         Date(s) debt was incurred _
                                                                   Basis for the claim: _
         Last 4 digits of account number_
                                                                   lathe claim subject to offset?      No    0 Yes

3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,626,662.98
         XL Specialty Insurance Company                            O Contingent
         677 Washington Blvd.                                      o Unliquidated
         10th Floor, Suite 1000                                    • Disputed
         Stamford, CT 06901
                                                                   Basis for the claim: Performance Bond Premium
         Date(s) debt was incurred _

         Last 4 digits of account number_                          Is the claim subject to offset? •No       0 Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,290.00
         Yellow Rose Mapping LLC                                   0 Contingent
         2011 Woodland Hills Lane                                  0 Unliquidated
         Weatherford, TX 76087                                     0 Disputed
         Date(s) debt was incurred _                               Basis for the claim: _
         Last 4 digits of account number_
                                                                   Is the claim subject to offset? •No       0 Yes




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Debtor        Big Horn Construction & Reclamation LLC                                               Case number of known)             24-42003-7
             Name

 3.502     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $14,701.54
           Yellowstone Valley Parts & Equipment                            El Contingent
           4959 Hwy 312                                                        Unliquidated
           Billings, MT 59105                                              0 Disputed
           Date(s) debt was incurred _
                                                                           Basis for the claim: _
           Last 4 digits of account number_
                                                                           Is the claim subject to offset? III No 0 Yes


 3.503     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $28,757.34
           Zeno Digital Solutions LLC                                      0 Contingent
           14320 Midway Road                                               0 Unliquidated
           Dallas, TX 75244                                                0 Disputed
           Date(s) debt was incurred _
                                                                           Basis for the claim: Trade debt
           Last 4 digits of account number_
                                                                           Is the claim subject to offset?        No 0 Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                           5a          $                             0.00
5b. Total claims from Part 2                                                                           5b     +    $                118,991,492.29

5c. Total of Parts 1 and 2
     Lines 5a + 5b = Sc.                                                                               Sc.                             118,991,492.29




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Fill in this information to identify the case:

Debtor name        Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)      24 42003 7
                               -       -


                                                                                                                              ID Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
       • No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       o Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule NB: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify the case:

Debtor name       Big Horn Construction & Reclamation LLC

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number (if known)    24-42003-7
                                                                                                                         El Check if this is an
                                                                                                                             amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

     1. Do you have any codebtors?

O No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
• Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
          Column 1: Codebtor                                                                         Column 2: Creditor




           Name                        Mailing Address                                         Name                            Check all schedules
                                                                                                                               that apply:

   2.1     Cole W. Johnson             777 Main Street, Suite 3000                             Action Equipment                • D
                                       Fort Worth, TX 76102                                                                    • E/F        3.16
                                                                                                                                 G




   2.2 Cole W. Johnson                 777 Main Street, Suite 3000                             America Supply LLC              • D
                                       Fort Worth, TX 76102                                                                    • E/F 3.30
                                                                                                                               0G




   2.3     Cole W. Johnson             777 Main Street, Suite 3000                             Apple Electrical                • D
                                       Fort Worth, TX 76102                                    Contractors Inc                 • E/F        3.34
                                                                                                                                 G




   2.4 Cole W. Johnson                 777 Main Street, Suite 3000                             Cadence Bank                    • D
                                       Fort Worth, TX 76102                                                                    • E/F        3.76
                                                                                                                                 G




   2.5     Cole W. Johnson             777 Main Street, Suite 3000                             Cannon Advance                  • D
                                       Fort Worth, TX 76102                                                                    • E/F        3.81
                                                                                                                               DG




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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
           Column 1: Codebtor                                                          Column 2: Creditor



  2.6      Cole W. Johnson          777 Main Street, Suite 3000                         Delta Fuel Company                 D
                                    Fort Worth, TX 76102                                LLC                          • E/F      3.124
                                                                                                                       G




  2.7      Cole W. Johnson          777 Main Street, Suite 3000                         Direct Business                    D
                                    Fort Worth, TX 76102                                Funders LLC                  • E/F      3.129
                                                                                                                       G




  2.8      Cole W. Johnson          777 Main Street, Suite 3000                         Honnen Equipment                   D
                                    Fort Worth, TX 76102                                Company                      • E/F      3.206
                                                                                                                       G




  2.9      Cole W. Johnson          777 Main Street, Suite 3000                         Hunt Gulliot &                     D
                                    Fort Worth, TX 76102                                Associates LLC               • E/F      3.210
                                                                                                                       G




  2.10     Cole W. Johnson          777 Main Street, Suite 3000                         Lendspark                       OD
                                    Fort Worth, TX 76102                                                             • E/F      3.256
                                                                                                                     0G




  2.11     Cole W. Johnson          777 Main Street, Suite 3000                         Libertas Funding LLC         DD
                                    Fort Worth, TX 76102                                                                • E/F   3.257
                                                                                                                          G




  2.12     Cole W. Johnson          777 Main Street, Suite 3000                         MG Oil Company               DD
                                    Fort Worth, TX 76102                                                                • E/F   3.281
                                                                                                                          G




  2.13     Cole W. Johnson          777 Main Street, Suite 3000                         R&M Trucking &                  DD
                                    Fort Worth, TX 76102                                Backhoe Service LLC             • E/F   3.354
                                                                                                                          G




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  2.14    Cole W. Johnson          777 Main Street, Suite 3000                         Spin Capital                 DD
                                   Fort Worth, TX 76102                                                             • E/F     3.400
                                                                                                                    DG




  2.15    Cole W. Johnson          777 Main Street, Suite 3000                         XL Specialty                       D
                                   Fort Worth, TX 76102                                Insurance Company            • E/F     3.500
                                                                                                                      G




  2.16    Cord W. Johnson          777 Main Street                                     Action Equipment                   D
                                   Suite 3000                                                                       • E/F     3.16
                                   Fort Worth, TX 76102
                                                                                                                    DG




  2.17    Cord W. Johnson          777 Main Street                                     America Supply LLC             D
                                   Suite 3000                                                                       • E/F     3.30
                                   Fort Worth, TX 76102
                                                                                                                      G




  2.18    Cord W. Johnson          777 Main Street                                     Apple Electrical                   D
                                   Suite 3000                                          Contractors Inc              • E/F     3.34
                                   Fort Worth, TX 76102
                                                                                                                    DG




  2.19    Cord W. Johnson          777 Main Street                                     Cadence Bank                       D
                                   Suite 3000                                                                       • E/F     3.76
                                   Fort Worth, TX 76102                                                             DG




  2.20    Cord W. Johnson          777 Main Street                                     Cannon Advance                     D
                                   Suite 3000                                                                       • E/F     3.81
                                   Fort Worth, TX 76102                                                             DG




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          Column 1: Codebtor                                                          Column 2. Creditor



  2.21    Cord W. Johnson          777 Main Street                                     Delta Fuel Company           OD
                                   Suite 3000                                          LLC                          • E/F   3.124
                                   Fort Worth, TX 76102
                                                                                                                    DG




  2.22    Cord W. Johnson          777 Main Street                                     Direct Business                D
                                   Suite 3000                                          Funders LLC                  • E/F   3.129
                                   Fort Worth, TX 76102
                                                                                                                      G




  2.23    Cord W. Johnson          777 Main Street                                     Honnen Equipment             DD
                                   Suite 3000                                          Company                      • E/F   3.206
                                   Fort Worth, TX 76102
                                                                                                                      G




  2.24    Cord W. Johnson          777 Main Street                                     Hunt Gulliot &                 D
                                   Suite 3000                                          Associates LLC               • E/F    3.210
                                   Fort Worth, TX 76102
                                                                                                                      G




  2.25    Cord W. Johnson          777 Main Street                                     Lendspark                    OD
                                   Suite 3000                                                                       • E/F   3.256
                                   Fort Worth, TX 76102                                                             DG




  2.26    Cord W. Johnson          777 Main Street                                     Libertas Funding LLC           D
                                   Suite 3000                                                                       • E/F    3.257
                                   Fort Worth, TX 76102                                                             0G




  2.27    Cord W. Johnson          777 Main Street                                     MG Oil Company               DD
                                   Suite 3000                                                                       • E/F    3.281
                                   Fort Worth, TX 76102                                                               G




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  2.28    Cord W. Johnson          777 Main Street                                     R&M Trucking &                     D
                                   Suite 3000                                          Backhoe Service LLC          •     E/F   3.354
                                   Fort Worth, TX 76102
                                                                                                                    0G




  2.29    Cord W. Johnson          777 Main Street                                     Spin Capital                 11D
                                   Suite 3000                                                                       •     E/F   3.400
                                   Fort Worth, TX 76102
                                                                                                                    DG




  2.30    Cord W. Johnson          777 Main Street                                     XL Specialty                 OD
                                   Suite 3000                                          Insurance Company            • E/F       3.500
                                   Fort Worth, TX 76102
                                                                                                                      G




  2.31    Cord W. Johnson          777 Main Street                                     F7 SSSM LLC                  DD
                                   Suite 3000                                                                       • E/F       3.157
                                   Fort Worth, TX 76102
                                                                                                                      G




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